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                   IN THE UNITED STATES DISTRICT COURT                                       Style Definition: Normal
                       FOR THE DISTRICT OF COLORADO                                          Style Definition: Heading 1: Font: (Default) +Headings
                                                                                             (Aptos Display), 20 pt, Not Bold, Font color: Accent 1,
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Civil Action No. 1:21-cv-3440-WJM-KAS                                                        Keep lines together
                                                                                             Style Definition: Comment Subject Char1: Font: (Default)
ERIC COOMER, PhD.,                                                                           Georgia
                                                                                             Style Definition: Revision
      Plaintiff

v.

MAKE YOUR LIFE EPIC LLC dba THRIVETIME SHOW,
REOPEN AMERICA LLC dba REAWAKEN AMERICA TOUR, and
CLAYTON THOMAS CLARK, individually,

      Defendants

                                                                                             Deleted: <object><object>¶
                        SECOND AMENDED COMPLAINT                                             FIRST


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TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

      Plaintiff Eric Coomer, Ph.D. (Dr. Coomer), by and through undersigned counsel,

brings this defamation action against Defendants Make Your Life Epic LLC dba

ThriveTime Show (ThriveTime), Reopen America LLC dba ReAwaken America Tour, and

Clayton Thomas Clark (Clark, and together with ThriveTime, Defendants).

                                 I.     INTRODUCTION

      1.     This case is about a relentless defamation campaign against Dr. Coomer

perpetrated by Clay Clark’s ReAwaken America Tour, Clay Clark’s ThriveTime, and by

Clark himself. Through their traveling tour and series of nationally published interviews,

Defendants have monetized a false election fraud narrative and promoted a constant

drumbeat of outright falsehoods intended to place Dr. Coomer at the center of an

imagined conspiracy to defraud the American people.




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      2.     The ReAwaken America Tour travels the country, typically performing in a

new city every month. Both at its live shows and through its livestreaming of those shows

to a national audience, the ReAwaken America Tour and its founder, Clark, regularly

publish lies about Plaintiff Dr. Eric Coomer, and falsely accuse him of criminal conduct

on a historically unprecedented scale.    These lies all originate with a baseless and

repeatedly debunked conspiracy theory invented by Colorado podcaster and conspiracy

theorist Joe Oltmann (Oltmann).

      3.     Clark and ThriveTime began publishing and subscribing to Oltmann’s

bizarre and implausible claims in a podcast interview conducted with Oltmann on

December 22, 2020, which Defendants published with the title “Exposing the Treasonous

Eric Coomer the ANTIFA Member and the Director of Strategy and Security at

DOMINION Voting Systems.” During the interview, Clark and ThriveTime accused

Dr. Coomer of committing treason and endorsed Oltmann’s claims that Dr. Coomer

could/should be put to death for the crime they falsely claimed he had committed. Clark

went on to monetize Oltmann’s baseless claims by founding the ReAwaken America Tour,

which tours the country selling $250 tickets to conferences promoting election fraud lies,

including Oltmann’s lies about Dr. Coomer.

      4.     The original Oltmann lie about Dr. Coomer began days after the

November 2020 presidential election when Oltmann claimed to have suddenly recalled

“infiltrating” an “Antifa conference call” at some unidentified date months prior.

Oltmann claimed that on that call he overheard an unknown and unidentified third party

refer to another unknown and unidentified third party as “Eric,” who another unknown




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and unidentified third party then referred to as “the Dominion guy.” Oltmann claimed

the anonymous “Eric” boasted on that call that former president Trump would not win

the election, and that he had made sure of it. Oltmann then claimed to have identified

Plaintiff Dr. Eric Coomer, who is the former Director of Product Strategy and Security for

Dominion Voting Systems, as the anonymous “Eric” on the supposed call by Googling

“Eric Dominion Denver Colorado.” Oltmann has gone on to claim, without any evidence

whatsoever, that Dr. Coomer did in fact rig the election. On the basis of this far-fetched

and unsubstantiated tale, Clark and ThriveTime labeled Dr. Coomer a traitor, accused

him of treason, and published claims that Dr. Coomer had committed a capital offense.

        5.      Oltmann’s claims are all outright and unequivocal falsehoods. Dr. Coomer

did not participate in an “Antifa conference call.”1 He did not claim on any call to have

rigged the election. And he did not rig the election.

        6.      In order to expose the truth and attempt to reclaim his reputation,

Dr. Coomer has filed multiple lawsuits2 against a variety of local and national individuals

and entities who have spread and profited off of the dissemination of Oltmann’s lies.

While still in their infancy, those lawsuits have already confirmed through document

production, sworn testimony, and expert reports that Oltmann has no evidence


1 To be clear, Dr. Coomer’s denial of any involvement in an “Antifa” conference call includes any and all

potential permutations of the amorphous term “Antifa,” and must be understood to include any call with
any political organization, any group of political activists or individuals, any left-leaning activists or
individuals, any Black Lives Matter activists, individuals, or organizations, and any other call of any sort
whatsoever. Dr. Coomer has never partaken in any call of any nature wherein he or any other call
participant claimed to have taken any steps whatsoever to alter or otherwise manipulate the results of the
2020 election.
2 See Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319 (filed

Dec. 22, 2020); see also Coomer v. Salem Media of Colorado Inc., et. al., Denver District Court Case
No. 2021CV33632 (filed Nov. 13, 2021).




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whatsoever for any of his false claims against Dr. Coomer and that the accusations against

Dr. Coomer are so extreme and farfetched as to be facially absurd and inherently

improbable.

       7.     Despite these widely publicized developments, Defendants have persisted

in promoting, publishing, and profiting off of publishing Oltmann’s lies to a national

audience. The traveling “Clay Clark’s ReAwaken America Tour,” which, upon information

and belief, is operated by Defendant Make Your Life Epic LLC dba ThriveTime Show

and/or Defendant Reopen America LLC dba ReAwaken America Tour, livestreams all of

its tour events online to a national and potentially international audience. In addition to

Oltmann, the Tour features a variety of QAnon promoters, vaccine skeptics, election fraud

conspiracy theorists, conservative political activists, and others. Oltmann’s appearances

onstage are regularly devoted to defaming Dr. Coomer, spreading falsehoods about the

2020 election, and issuing calls for political violence. In addition to the monthly tour

events, including a recent tour event in Colorado Springs, Colorado, Defendants have also

published multiple interviews spreading falsehoods about Dr. Coomer, and have

promoted those falsehoods across multiple social media platforms.

       8.     The damage caused to Dr. Coomer by Defendants’ conduct is immense.

After more than fifteen years as a respected professional at the top of his field,

Dr. Coomer’s reputation has been irreparably tarnished. He can no longer work in the

elections industry on account of the unwarranted distrust inspired by Defendants’ lies,

and instead now endures frequent credible death threats and the burden of being made

the face of an imagined criminal conspiracy of unprecedented scope in American history.




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                                     II.    PARTIES

      9.     Plaintiff Eric Coomer, Ph.D. (Dr. Coomer) is an individual resident of

Colorado who may be contacted c/o Cain & Skarnulis PLLC, P. O. Box 1064, Salida,

Colorado 81201.

      10.    Defendant Make Your Life Epic LLC dba ThriveTime Show is a limited

liability company organized and existing under the laws of Oklahoma. ThriveTime

broadcasts its podcasts to a national audience on its own website, as well as through a

variety of podcast hosting services. On information and belief, ThriveTime owns and

operates the ReAwaken America Tour, which it both broadcasts live online and publishes

across multiple online platforms. The ReAwaken America Tour travels and performs

nationally, including a show in Colorado Springs, Colorado, on or about September 24-25,

2021. ThriveTime is independently liable for its own tortious conduct, and vicariously

liable for the conduct of Defendant Clark, who at all times relevant was acting as an agent

and representative of Make Your Life Epic LLC dba ThriveTime Show. ThriveTime may

be served with process through its registered agent, Vanessa Clark, at 513 East New

Orleans Street, Broken Arrow, Oklahoma 74011.

      11.    Defendant Reopen America LLC dba ReAwaken America Tour (ReAwaken)

is a limited liability company organized and existing under the laws of Oklahoma. On

information and belief, Reopen America LLC owns and operates the ReAwaken America

Tour, which it both broadcasts live online and publishes across multiple online platforms.

The ReAwaken America Tour travels and performs nationally, including a show in

Colorado Springs, Colorado, on or about September 24-25, 2021.              ReAwaken is




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independently liable for its own tortious conduct, and vicariously liable for the conduct of

Defendant Clark, who at all times relevant was acting as an agent and representative of

Reopen America LLC dba Reawaken America Tour. ReAwaken may be served with

process through its registered agent, Winters & King, Inc., at 2448 East 81st Street,

Suite 5900, Tulsa, Oklahoma 74137.

         12.   Defendant Clayton Thomas Clark is an individual resident of Oklahoma.

Clark is the host of the ThriveTime Show and the founder of the ReAwaken America Tour,

and, in those roles, he has published and sponsored defamatory statements directed at

Colorado audiences and made defamatory statements directly to a live Colorado audience

in Colorado Springs. Upon information and belief, all or part of the revenue derived from

“Clay Clark’s ReAwaken America Tour” (or its other permutations, including but not

limited to “Clay Clark’s Health and Freedom Conference 2021” and “Clay Clark’s ReOpen

America Tour”) is remitted to Clark or to an entity under his supervision or control. Clark

may be served with process at 513 East New Orleans Street, Broken Arrow, Oklahoma

74011.

                            III.   JURISDICTION AND VENUE

         13.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332

because there is complete diversity of citizenship between Plaintiff and Defendants and

the amount in controversy exceeds $75,000, exclusive of interest and costs.

         14.   This Court has personal jurisdiction over Defendants pursuant to

C.R.S. § 13-1-124 because Defendants transacted business in Colorado and committed

tortious acts within Colorado.




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        15.     Specifically, this Court has personal jurisdiction over ThriveTime as it

committed tortious acts against a resident of the state of Colorado giving rise to this cause

of action. ThriveTime had the knowledge and intent that: the effects of its actions would

be felt in the state of Colorado; the injury would occur in Colorado; and that its

defamatory messages would be directed at Colorado.                           See Keeton v. Hustler

Magazine, Inc., 465 U.S. 770, 776-81 (1984).                  ThriveTime derived its defamatory

statements from Coloradan sources.3 The subject of those statements concerned a

Colorado resident and that resident’s work and employment for a business based in

Colorado, making Colorado an integral focal point for its defamatory statements.4

See Calder v. Jones, 465 U.S. 783, 788-89 (1984); see also Keeton, 465 U.S. at 780

(recognizing a plaintiff’s residence may be relevant to the jurisdictional inquiry as it “may

be the focus of the activities of the defendant out of which the suit arises”). ThriveTime

purposefully sought a national audience and directed promotional materials for its event

in Colorado to Colorado and Coloradan audiences for circulation, which are received by

Coloradan audiences.5 See Keeton, 465 U.S. at 776-81 (finding “libel is generally held to

occur wherever the offending material is circulated” and a defendant continuously and

deliberately exploiting a market “must reasonably anticipate being haled into court there


3 ThriveTime knowingly relied on Oltmann as its source for its false statements; specifically identified

Oltmann as a Denver, Colorado businessman within its statements; and derived those statements from
information Oltmann allegedly gained while in Colorado. See infra at ¶¶ 29-30, 33-36, 47-73.
4 ThriveTime knowingly relied on Dr. Coomer, a Colorado resident, and Dominion, a business based in

Colorado, and alleged actions and events taken in Colorado as the subject of its false statements. See infra
at ¶¶ 29-30, 33-36, 47-73.
5 ThriveTime knowingly published its statements using national platforms and broadcasts that purposefully

direct their statements into the state of Colorado and to Coloradan audiences. ThriveTime intended to
reach every citizen in the United States and purposefully sought this national audience, which included
Colorado and Coloradan audiences. See infra at ¶¶ 44, 65-66.




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in a libel action”). Similarly, ThriveTime travelled to Colorado and made defamatory

statements about Dr. Coomer from within Colorado, including to live Colorado audiences

and during its Colorado Springs event on September 24-25, 2021.

        16.     This Court has personal jurisdiction over ReAwaken as it committed

tortious acts against a resident of the state of Colorado giving rise to this cause of action.

ReAwaken had the knowledge and intent that: the effects of its actions would be felt in

the state of Colorado; the injury would occur in Colorado; and that its defamatory

messages would be directed at Colorado. See Keeton v. Hustler Magazine, Inc., 465 U.S.

770, 776-81 (1984).         ReAwaken derived its defamatory statements from Coloradan

sources.6 The subject of those statements concerned a Colorado resident and that

resident’s work and employment for a business based in Colorado, making Colorado an

integral focal point for its defamatory statements.7 See Calder v. Jones, 465 U.S. 783,

788-89 (1984); see also Keeton, 465 U.S. at 780 (recognizing a plaintiff’s residence may

be relevant to the jurisdictional inquiry as it “may be the focus of the activities of the

defendant out of which the suit arises”). ReAwaken purposefully sought a national

audience and directed promotional materials for its event in Colorado to Colorado and

Coloradan audiences for circulation, which are received by Coloradan audiences.8


6 ThriveTime knowingly relied on Oltmann as its source for its false statements; specifically identified

Oltmann as a Denver, Colorado businessman within its statements; and derived those statements from
information Oltmann allegedly gained while in Colorado. See infra at ¶¶ 29-30, 33-36, 47-73.
7 ThriveTime knowingly relied on Dr. Coomer, a Colorado resident, and Dominion, a business based in

Colorado, and alleged actions and events taken in Colorado as the subject of its false statements. See infra
at ¶¶ 29-30, 33-36, 47-73.
8 ThriveTime knowingly published its statements using national platforms and broadcasts that purposefully

direct their statements into the state of Colorado and to Coloradan audiences. ThriveTime intended to
reach every citizen in the United States and purposefully sought this national audience, which included
Colorado and Coloradan audiences. See infra at ¶¶ 44, 65-66.




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See Keeton, 465 U.S. at 776-81 (finding “libel is generally held to occur wherever the                            Deleted:


offending material is circulated” and a defendant continuously and deliberately exploiting

a market “must reasonably anticipate being haled into court there in a libel action”).

Similarly, ReAwaken travelled to Colorado and made defamatory statements about

Dr. Coomer from within Colorado, including to live Colorado audiences and during its

Colorado Springs event on September 24-25, 2021.

        17.      This Court may exercise personal jurisdiction over Clark as he committed

tortious acts against a resident of the state of Colorado giving rise to this cause of action.

Clark had the knowledge and intent that: the effects of its actions would be felt in the state

of Colorado; the injury would occur in Colorado; and that its defamatory messages would

be directed at Colorado. See Keeton, 465 U.S. at 776-81. Clark derived his defamatory

statements from Coloradan sources.9                The subject of those statements concerned a

Colorado resident and that resident’s work and employment for a business based in

Colorado, making Colorado an integral focal point for its defamatory statements.10

See Calder, 465 U.S. at 788-89; see also Keeton, 465 U.S. at 780. Clark purposefully

sought a national audience and directed promotional materials for his event in Colorado

to Colorado and Coloradan audiences for circulation, which were received by Coloradan




9 Clark knowingly relied on Oltmann as its source for its false statements; specifically identified Oltmann

as a Denver, Colorado businessman within its statements; and derived those statements from information
Oltmann allegedly gained while in Colorado. See infra at ¶¶ 29-30, 33-36, 47-73.
10 Clark knowingly relied on Dr. Coomer, a Colorado resident, and Dominion, a business based in Colorado,

and alleged actions and events taken in Colorado as the subject of its false statements. See infra at ¶¶ 29-30,
33-36, 48-74.




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audiences.11 See Keeton, 465 U.S. at 776-81.”). Similarly, Clark traveled to Colorado and

made defamatory statements about Dr. Coomer from within Colorado, including to live

Colorado audiences and during his appearance with ReAwaken’s Colorado Springs event

on September 24-25, 2021.

        18.     Requiring Defendants to litigate these claims in Colorado does not offend

traditional notions of fair play and substantial justice and is permitted by the Due Process

Clause of the United States Constitution. Dr. Coomer’s claims arise from defamatory

statements Defendants not only published in Colorado but specifically traveled to

Colorado to publish. Jurisdiction in Colorado provides for the efficient resolution of the

claims herein.

        19.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to the claims in this Complaint

occurred in Colorado, were directed at Colorado and specifically at Denver, Colorado, and

were felt in Colorado and specifically in Denver, Colorado, and because Defendants are

subject to the Court’s personal jurisdiction in Colorado.

                                             IV.      FACTS                                                    Formatted: Don't keep with next


        20.     Plaintiff Dr. Coomer is the former Director of Product Strategy and Security

for Dominion Voting Systems. Dominion is based in Denver, Colorado, and provides

election support services across the United States, including from initial project

implementation through election set-up, ballot layout, multiple language audio, machine


11 Clark knowingly published its statements using national platforms and broadcasts that purposefully direct

their statements into the state of Colorado and to Coloradan audiences. ThriveTime intended to reach every
citizen in the United States and purposefully sought this national audience, which included Colorado and
Coloradan audiences. See infra at ¶¶ 44, 65-66.




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set-up, and system testing. Dominion provided election related services to at least thirty

different states during the 2020 presidential election.

A.      The 2020 presidential election was a free and fair election.

        21.      The 2020 presidential election results have been verified by numerous

independent entities, including government officials and agencies.                          State elections

officials tasked with verifying the election and vote counts certified the election results

across all 50 states and the District of Columbia.12 Electors met and formally cast their

ballots with President Joe Biden securing 306 electoral votes and winning the popular

vote by more than seven million votes.13 Despite incited violence, Congress formally

counted the electoral votes, and former Vice President Mike Pence declared Joe Biden the

winner of the presidential election.14

        22.      On November 12, 2020, the Cybersecurity & Infrastructure Security Agency

(CISA), a standalone United States federal agency under the Department of Homeland

Security, issued a Joint Statement from the Elections Infrastructure Government

Coordinating Council and the Elections Infrastructure Sector Coordinating Executive

Committees stating:

        The November 3rd election was the most secure in American history. Right
        now, across the country, election officials are reviewing and double
        checking the entire election process prior to finalizing the result.

12 See Maggie Astor, et al., Biden Secures Enough Electors to Be President, N.Y. TIMES, Dec. 9, 2020,

https://www.nytimes.com/interactive/2020/11/20/us/politics/2020-election-certification-tracker.html
(“Election results have now been certified in all 50 states and Washington, D.C.”).
13 See Nick Corasaniti, et. al., Electoral College Vote Officially Affirms Biden’s Victory, N.Y. TIMES, Dec. 14,

2020, https://www.nytimes.com/2020/12/14/us/politics/biden-electoral-college.html
14 See John Wagner, et al., Pence declares Biden winner of presidential election after Congress finally

counts electoral votes, WASH. POST, Jan. 7, 2021, https://www.washingtonpost.com/politics/2021/01/06
/congress-electoral-college-vote-live-updates/ .




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       When states have close elections, many will recount ballots. All of the states
       with close results in the 2020 presidential race have paper records of each
       vote, allowing the ability to go back and count each ballot if necessary. This
       is an added benefit for security and resilience. This process allows for the
       identification and correction of any mistakes or errors. There is no
       evidence that any voting system deleted or lost votes, changed
       votes, or was in any way compromised.

       Other security measures like pre-election testing, state certification of
       voting equipment, and the U.S. Election Assistance Commission’s (EAC)
       certification of voting equipment help to build additional confidence in the
       voting systems used in 2020.

       While we know there are many unfounded claims and opportunities for
       misinformation about the process of our elections, we can assure you we
       have the utmost confidence in the security and integrity of our elections,
       and you should too. When you have questions, turn to elections officials as
       trusted voices as they administer elections.15

       23.     Former Director of CISA, Chris Krebs, after his dismissal by President

Trump, acknowledged that states had transitioned to auditable voting systems with

paper-based ballots that could be recounted, independent of any allegedly hacked

software or hardware.16 Krebs explained that these paper ballots, when paired with state

post-election checks, ensured the accuracy of the voting counts. Such post-election

checks were utilized with recounts in Georgia and Wisconsin, which affirmed the election

results.17


15 CISA, Joint Statement from Elections Infrastructure Gov’t Coordinating Council & the Election
Infrastructure      Sector       Coordinative         Exec. Comms.,         Nov.     12,  2020,
https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
coordinating-council-election (emphasis in original).
16Chris Krebs, Trump fired me for saying this, but I’ll say it again: The Election wasn’t rigged,
WASH. POST, Dec. 1, 2020, https://www.washingtonpost.com/opinions/christopher-krebs-trump-election-
wasnt-hacked/2020/12/01/88da94a0-340f-11eb-8d38-6aea1adb3839_story.html.
17 Scott Bauer, Wisconsin certifies Joe Biden as winner following recount, AP, Nov. 30, 2020,
https://apnews.com/article/election-2020-joe-biden-donald-trump-wisconsin-lawsuits-




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        24.     On November 16, 2020, 59 of the top computer scientists and election

security experts in the country issued a joint letter affirming that no election manipulation

had occurred, stating, “To our collective knowledge, no credible evidence has been put

forth that supports a conclusion that the 2020 election outcome in any state has been

altered through technical compromise.” They went on to note that, “Anyone asserting

that a U.S. election was ‘rigged’ is making an extraordinary claim, one that must be

supported by persuasive and verifiable evidence.”18

        25.     On December 1, 2020, then U.S. Attorney General William Barr confirmed

“to date, we have not seen fraud on a scale that could have effected a different outcome in

the election.”19

        26.     Over 60 separate lawsuits brought by President Trump’s campaign and its

supporters across the country attempting to challenge the legitimacy of the election

results have failed.20 With these, courts have rejected baseless allegations of widespread




2e9cf60550f519537d31b6b71aa32c3c; Kate Brumback, Georgia again certifies election results showing
Biden won, AP, Dec. 7, 2020, https://apnews.com/article/election-2020-joe-biden-donald-trump-
georgia-elections-4eeea3b24f10de886bcdeab6c26b680a.
18 Nicole Perlroth, Election Security Experts Contradict Trump’s Voting Claims, N.Y. TIMES, Nov. 16, 2020,

https://www.nytimes.com/2020/11/16/business/election-security-letter-trump.html.
19 Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, AP, Dec. 1, 2020,
https://apnews.com/article/barr-no-widespread-election-fraud-b1f1488796c9a98c4b1a9061a6c7f49d.
20 Rosalind S. Helderman, et al., ‘The last wall’: How dozens of judges across the political spectrum rejected

Trump’s     efforts     to    overturn      the    election,  WASH.       POST,    Dec.      12,    2020,
https://www.washingtonpost.com/politics/judges-trump-election-lawsuits/2020/12/12/e3a57224-3a72-
11eb-98c4-25dc9f4987e8_story.html; William Cummings, et al., By the numbers: President Donald
Trump’s failed efforts to overturn the election, USA TODAY, Jan. 6, 2021, https://www.usatoday.com/in-
depth/news/politics/elections/2021/01/06/trumps-failed-efforts-overturn-election-
numbers/4130307001/ (“Out of the 62 lawsuits filed challenging the presidential election, 61 have failed”).




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voter fraud raised to overcome the election results.21 Notably in one case, the Court in the

United States District Court for the Middle District of Pennsylvania rendered an opinion

stating:

       One might expect that when seeking [to disenfranchise almost seven million
       voters], a plaintiff would come formidably armed with compelling legal
       arguments and factual proof of rampant corruption, such that this Court
       would have no option but to regrettably grant the proposed injunctive relief
       despite the impact it would have on such a large group of citizens.

       That has not happened. Instead, this Court has been presented with
       strained legal arguments without merit and speculative accusations, unpled
       in the operative complaint and unsupported by evidence.

Donald J. Trump for President, Inc., et al. v. Boockvar, et al., No. 4:20-cv-02078-

MWB, at Dkt. No. 202, p.2 (M.D. PA. Nov. 21, 2020).                   In review of this opinion,

Judge Bibas, writing the Third Circuit’s unanimous opinion on November 27, 2020,

summarized the Court’s ruling as follows:

       Free, fair elections are the lifeblood of our democracy. Charges of
       unfairness are serious. But calling an election unfair does not make it so.
       Charges require specific allegations and then proof. We have neither here.

Donald J. Trump for President, Inc., et. al. v. Sec’y Commonwealth of Pennsylvania, et.

al., No. 20-3371, * 2 (3rd Cir. Nov. 27, 2020).

       27.     Courts have already acted against some of those most responsible for

spreading post-election falsehoods, including those about Dr. Coomer. For example,




21 See e.g., Bowyer, et al., v. Ducey, et al., No. 2:20-cv-02321-DJH (D. Ariz.) at Dkt. No. 84, p.28
(concluding “[n]ot only have Plaintiffs failed to provide the Court with factual support for their
extraordinary claims, but they have wholly failed to establish that they have standing for the Court to
consider them. Allegations that find favor in the public sphere of gossip and innuendo cannot be a
substitute for earnest pleadings and procedure in federal court.”).




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Rudy Giuliani22 has had his license to practice law suspended in New York. The Attorney

Grievance Committee there found that “there is uncontroverted evidence that respondent

communicated demonstrably false and misleading statements to courts, lawmakers, and

the public at large in his capacity as lawyer for former President Donald and the Trump

Campaign.” It concluded that “[Giuliani’s] conduct immediately threatens the public

interest and warrants interim suspension from the practice of law.”23 Similarly, the

United States District Court for the Eastern District of Michigan recently ordered

sanctions against Sidney Powell,24 who had relied on Oltmann in making false allegations

against Dr. Coomer in the complaint she filed in the Eastern District of Michigan.

In ordering sanctions against Powell, the Court described the lawsuit as “a historic and

profound abuse of the judicial process” and concluded that the “attorneys have scorned

their oath, flouted the rules, and attempted to undermine the integrity of the judiciary

along the way.”25

        28.     Numerous investigations and subsequent audits have served to confirm the

legitimacy of the election results, and to reaffirm that President Biden was duly elected to

office and that the vote counts were not manipulated. The Republican-led Michigan




22 Rudy Giuliani is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
23 In re Matter of Giuliani, Supreme Court of the State of New York Appellate Division, Case No. 2021-

00506, at 1, https://www.nycourts.gov/courts/ad1/calendar/List_Word/2021/06_Jun/24/PDF/Matter%
20of%20Giuliani%20(2021-00506)%20PC.pdf.
24 Sidney Powell and Sidney Powell P.C. are defendants in a separate defamation lawsuit filed by Dr. Coomer

on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District Court Case
No. 2020CV34319.
25  King v. Whitmer, Case No. 20-13134, (E.D. Mich. Aug. 25, 2021), https://storage.court
listener.com/recap/gov.uscourts.mied.350905/gov.uscourts.mied.350905.172.0_3.pdf.




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Senate Oversight Committee, for example, issued a “Report on the November 2020

Election in Michigan” on June 23, 2021, wherein they examined various claims of voter

fraud. The Committee found no basis for claims by former President Trump and his allies

that there was widespread voter fraud in the 2020 election.26 Similarly, a months-long

Republican-led “full forensic audit” of election results in Maricopa County, Arizona,

confirmed President Biden’s win, and in fact discovered that Biden had won by more votes

than previously reported.27

        29.     Dr. Coomer’s former employer, Dominion Voting Systems, also published a

lengthy FAQ section on its website in the days following the 2020 presidential election,

which systematically addressed and debunked the numerous conspiracy theories being

directed at the Denver-based company and its employees. These thorough rebuttals were

and remain easily accessible on Dominion’s website.28

B.      Oltmann fabricated a conspiracy.29

        30.     Oltmann is a political activist and supporter of President Trump with

ambitions of creating a political movement.30 Oltmann formed a nonprofit organization,


26 Clare Hendrickson and Dave Boucher, Michigan Republican-led investigation rejects Trump’s claim that

Nov.      3    election   was    stolen,      DETROIT     FREE   PRESS,     June      23,     2021,
https://www.freep.com/story/news/politics/elections/2021/06/23/michigan-senate-investigation-
election-trump/5035244001/.
27 David Schwartz and Nathan Layne, ‘Truth is truth’: Trump dealt blow as Republican-led Arizona audit

reaffirms Biden win, REUTERS, Sept. 27, 2021, https://www.reuters.com/world/us/arizona-republicans-
release-findings-widely-panned-election-audit-2021-09-24/.
28 See https://www.dominionvoting.com/setting-the-record-straight/ (last visited Dec. 21, 2021).

29 Oltmann and his related entities, FEC United and Shuffling Madness Media, Inc. dba Conservative Daily

are defendants in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald
J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
30See Joseph Oltmann (@Joeoltmann), PARLER (Dec. 2, 2020) (In response to lawsuits brought by
President Trump, “[w]e do this without the weak ass Republican traitors.”); (Dec. 4, 2020) (“It’s time we




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FEC United, allegedly to restore and secure constitutional protections he perceived as

under attack, which includes a paramilitary civilian defense group.31 FEC United has

hosted rallies for armed civilians to gather, as well as political events on behalf of the

Colorado Republican Party and the Trump Campaign.32 By way of example, FEC United

reportedly solicited its members to sign up for the “Army for Trump” poll watcher

program before the election, claiming that “Democrats have been actively stacking the

poll-watching positions with their own people, and this will only contribute to the fraud .

. . Join Our Election Day Team!”33 Oltmann served as a co-host of the Conservative Daily

podcast (under the pseudonym Joe Otto for many years prior to his claims about

Dr. Coomer) with videos also posted on Conservative Daily’s YouTube channel.

         31.    After the results of the election were called for President Joe Biden,

Oltmann co-hosted a Conservative Daily podcast on November 9, 2020, which served as




turn out the corrupt government and weaponized media and tech companies. This is our country . . .
#reckoning #ericcoomerisatraitor #dominionvotingsystems); (Dec. 6, 2020) (“I will love my neighbors
after I beat their ass and stop this evil indoctrination and cancer on our community . . . I punched one of
these asshats in the face and defended our country”); (Dec. 7, 2020) (“I am angry we are where we are and
we allowed the loony left to even get their claws of deceit and despair into the fiber of our country. I am
disappointed we let the evil left remove God from our schools and communities without a bigger fight . . .
Pray for our country. Pray for our President. Pray for our leaders that they can have courage. Pray for the
warriors of our nation that will stand up for you. God bless you all. We will not surrender and we will never
retreat.”); (Dec. 10, 2020) (“Pray for our country and that our Supreme Court has the courage to reject the
evil we face.”); (Dec. 12, 2020) (“Now we got to war as the people . . . the deep state runs deep. Evil at
work . . .”).
31 See FEC United, Defend the American Way of Life, https://fecunited.com (last visited Nov. 12, 2021);

United American Defense Fund, Defend and Protect What Is Ours, https://fecunited.com/uadf/
(last visited Nov. 12, 2021).
32 See Erik Maulbetsch, Conservative Group Behind the Deadly ”Patriot Muster” Rally Working Closely

With Colorado GOP, COLO. TIMES RECORDER, Oct. 12, 2020, https://coloradotimesrecorder.com/2020/10
/conservative-group-behind-deadly-patriot-muster-rally-working-closely-with-colorado-gop/31445/.
33 See id.




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the genesis for his false claims about Dr. Coomer.34 On that podcast, he alleged to have

learned almost two months earlier of a conspiracy to elect the president of the

United States. Oltmann claimed he gained this information after infiltrating Antifa.

Despite his interest in the election and prolific podcasting schedule, Oltmann apparently

took no action at that time to report this alleged threat to democracy.35 Oltmann began

this podcast, saying:

       Let’s not sugar coat this, we’re going to expose someone inside of Dominion
       Voting Systems specifically related to Antifa and related to someone that is
       so far left and is controlling the elections, and his fingerprints are in every
       state. So I want you guys to understand that what we’re about to show you,
       you have to share . . . The conversation will be about a man named Eric
       Coomer. C-O-O-M-E-R.

Oltmann then posted a photo of Dr. Coomer’s face. Oltmann explained he had allegedly

“infiltrated an Antifa conference call” sometime in late September with unknown and

unverified participants. Oltmann claimed while on this purported call one of these

unknown participants was referred to as “Eric” and another allegedly explained “Eric is

the Dominion guy.” Oltmann claimed when another unknown participant asked, “What

are we gonna do if f-ing Trump wins?” the unknown “Eric” responded, which Oltmann

paraphrased as, “Don’t worry about the election, Trump is not gonna win. I made f-ing

sure of that. Hahahaha.” Afterward, Oltmann’s alleged efforts to identify the unknown

speakers of this purported call were limited to googling “Eric,” “Dominion,” and




34 Joseph Oltmann, et al., Ep. 196—Dominion Voting Systems, CONSERVATIVE DAILY PODCAST, Nov. 9, 2020.

35 The Conservative Daily podcast posted fifty podcasts from September 1, 2020 to November 9, 2020.

See id.; see also Joseph Oltmann, et al., Ep. 146—Someone Stole My Trump Sign (And I’m Pissed),
CONSERVATIVE DAILY PODCAST (Sept. 1, 2020).




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“Denver, Colorado.”36         With this, Oltmann claimed he identified Dr. Coomer and

Dominion Voting Systems, Inc.37 At no point has Oltmann contacted Dr. Coomer to

confirm his involvement in this purported call.

        32.     Only after President Trump had lost the presidential election did Oltmann

allegedly remember Dr. Coomer and take steps to target him. Oltmann had conceived a

storyline about the election—that its results were fraudulent—and consciously set out to

establish that Dr. Coomer perpetuated this fraud.38 This included accessing Dr. Coomer’s

private Facebook profile. Despite no credible evidence of Dr. Coomer’s involvement in

the purported “Antifa Conference Call” (or Zoom meeting), Oltmann used posts on

Dr. Coomer’s Facebook profile that were critical of President Trump to allege he was the


36 In a subsequent interview, Oltmann explained, “So it was really simple.
                                                                         This is what I did, right. I put in
‘Eric,’ into google search, ‘Eric,’ ‘Dominion,’ ‘Denver, Colorado.’ Not very clever, right?” See Michelle
Malkin, #MalkinLive: U.S. Elections, YOUTUBE (Nov. 13, 2020).
37 Oltmann provides no explanation for how he understood “Dominion” to mean “Dominion Voting
Systems, Inc.” and not any of the number of other Dominion-named businesses and locations in Colorado,
including, but not limited to: Old Dominion Freight Line; Dominion Life Church; Dominion Realty Group;
Dominion Water & Sanitation District; either of the two Dominion Towers constituting Dominion Plaza;
Dominion Mortgage; and Dominion Carpet Cleaning Inc.
38 Oltmann has a history of advancing varying allegations of voter fraud to support his political beliefs and

his preferred candidates as well as to promote himself and his businesses interests. See e.g., Erik
Maulbetsch, Conservative Group Behind the Deadly “Patriot Muster Rally Working Closely With Colorado
GOP, COLO. TIMES RECORDER, Oct. 12, 2020 (FEC United alleging election fraud); Joseph Oltmann, et al.,
Ep. 151–Voter Fraud is Real, CONSERVATIVE DAILY PODCAST (Sept. 9, 2020) (separate allegations of election
fraud); Ep. 126–GOP Caving to Pelosi’s Cheat-By-Mail Demands, CONSERVATIVE DAILY PODCAST (Aug. 5,
2020) (separate allegations of election fraud). Shortly after the election, Oltmann’s baseless allegations of
fraud continued to evolve across various theories until coalescing into his false statements against
Dr. Coomer. Compare Joseph Oltmann, et al., Ep. 193–Democrats Just Got Caught, CONSERVATIVE DAILY
PODCAST (Nov. 5, 2020) (separate allegations of election fraud), Ep. 194–How Democrats Stole It,
CONSERVATIVE DAILY PODCAST (Nov. 6, 2020) (separate allegations of election fraud), and Ep. 194–How
Democrats Stole It (Part 2), CONSERVATIVE DAILY PODCAST (Nov. 6, 2020) (separate allegations of election
fraud), with Ep.196–Dominion Voting Systems, CONSERVATIVE DAILY PODCAST (Nov. 9, 2020) (“we’re doing
a deep dive on Dominion Voting Systems, all the stuff we’re seeing with Scorecard, with Hammer, big tech
as a whole.”). Oltmann ultimately utilized these false allegations for personal gain. On November 5, 2020,
the Conservative Daily podcast informed its viewers it was the “#119 most popular political podcast in
America,” on November 6, 2020 it informed them it was then the “#108 most popular political podcast,”
on November 9, 2020 it was “#66,” on November 10, 2020 it was “#62,” November 14, 2020 it was “#53,”
on November 19, 2020 it was “#28,” on December 2, 2020 it was “#8.”




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anonymous “Eric.” Oltmann also used Dr. Coomer’s position and employment with

Dominion to allege Dr. Coomer was a key figure in a high-level conspiracy to rig the

election against President Trump.39 These statements are baseless and unequivocally

false. Dr. Coomer has no knowledge of this alleged Antifa conference call; Dr. Coomer

did not participate in such an alleged call; Dr. Coomer did not make the comments

Oltmann alleged were made; and Dr. Coomer did not take steps to subvert the results of

the presidential election.

        33.      In reality, Dr. Coomer, like many, had a private Facebook page that he

shared with approximately 300 friends. He shared political views and was critical of

President Trump. He shared satire that Oltmann intentionally disregarded and held out

as true. None of it was public. It remains unclear how Oltmann obtained possession of it

as he has refused to disclose his source despite a prior court order to do so.

        34.      More importantly, Dr. Coomer’s professional life was separate from his

personal political opinion. Dr. Coomer did not participate in political groups and did not

donate to campaigns. Dr. Coomer worked with elections officials—Republican,

Democratic, and independent—across the country to make sure the process was safe,

secure, and fair. The ability to have a political opinion in this country is a protected right.




39 See Joe Oltmann, Dominion, Big Tech, and How They Stole It, CONSERVATIVE DAILY PODCAST (Nov. 9,

2020) (“It’s not admitting it’s vulnerable, it’s actually creating the vulnerability so that it can actually be
manipulated, and that’s what’s happened here, Max. That’s what’s happened here. You have a guy that
literally is a fanatic. He’s on calls, he’s taking time in the middle of an election season to get on a call. Three
weeks before an election. Three weeks before the election! He’s getting on the phone and he’s saying very
clearly that ‘I have it handled.’ And he runs product strategy and security. We’re not talking about someone
that is at a low level, that has an opportunity to just - He’s in everywhere you look!”).




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It remains a protected right, even if critical of a sitting president. That criticism does not

denote conspiracy or fraud.

C.      Oltmann spreads the conspiracy theory.

        35.     Oltmann      began     spreading      his   baseless     allegations.40 Throughout

November 2020, Oltmann did numerous interviews with various conservative pundits,

media personalities, and elected officials. For example, on November 13, 2020, Oltmann

did an interview with Michelle Malkin41 on her livestream #MalkinLive, where he

repeated his false allegations that Dr. Coomer had participated in an Antifa conference

call, that he claimed on that call that he had rigged the election, and that he did in fact rig

the election. Oltmann claimed that “the treason is punishable by death” and encouraged

Dr. Coomer to turn himself in to the Department of Justice. He went on to give interviews

to James Hoft42 of the right-wing blog The Gateway Pundit,43 Chanel Rion44 of

One America News Network (OAN),45 nationally syndicated radio host Eric Metaxas,46



40 On December 6, 2020 alone, Oltmann claimed he had “been busy doing 15 interviews in the last 2 days.”

See Joseph Oltmann (@Joeoltmann), PARLER (Dec. 6, 2020).
41 Michelle Malkin is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
42 James Hoft is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020, Coomer

v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
43 TGP Communications LLC dba The Gateway Pundit is a defendant in a separate defamation lawsuit filed

by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District Court
Case No. 2020CV34319.
44 Chanel Rion is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.
45 Herring Networks Inc. dba One America News Network is a defendant in a separate defamation lawsuit

filed by Dr. Coomer on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District
Court Case No. 2020CV34319.
46 Eric Metaxas is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319.




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and on Michelle Malkin’s Newsmax47 program “Sovereign Nation.” At the same time,

Oltmann was appearing regularly as a guest on various Denver based talk radio shows,

including Colorado Republican National Committeeman Randy Corporon’s48 Denver

based radio program Wake Up with Randy Corporon on 710 KNUS.49

        36.     Oltmann was also promoting his false claims about Dr. Coomer to former

President Trump’s50 legal team, including Rudy Giuliani and Sidney Powell.                            Both

Giuliani and Powell would go on to specifically name Dr. Coomer during a November 19,

2020 press conference. Both Powell and Giuliani repeated Oltmann’s false claims about

Dr. Coomer, alongside other bizarre and false assertions about the election, including

claims that Dominion Voting Systems was founded in Venezuela by Hugo Chavez to steal

elections.

        37.     Throughout this time, Oltmann continued to grow more extreme in his

rhetoric and conduct. He began discussing Dr. Coomer on his podcast, “Conservative

Daily,” on a practically daily basis.           On November 16, 2020, he described calling

Dr. Coomer’s friends and threatening them with doxing and harassment if they didn’t




47 Newsmax was a defendant in a separate defamation lawsuit filed by Dr. Coomer on Dec. 22, 2020,

Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319. Newsmax
settled and issued a public apology to Dr. Coomer and a retraction of its coverage of Oltmann’s false claims
on April 30, 2021, and was dismissed from this lawsuit.
48 Randy Corporon is a defendant in a separate defamation lawsuit filed by Dr. Coomer on Nov. 13, 2021,

Coomer v. Salem Media of Colorado Inc., et. al., Denver District Court Case No. 2021CV33632.
49 Salem Media of Colorado, Inc., owns 710 KNUS and is a defendant in a separate defamation lawsuit filed

by Dr. Coomer on Nov. 13, 2021, Coomer v. Salem Media of Colorado Inc., et. al., Denver District Court
Case No. 2021CV33632.
50 Donald J. Trump for President, Inc. is a defendant in a separate defamation lawsuit filed by Dr. Coomer

on Dec. 22, 2020, Coomer v. Donald J. Trump for President, et. al., Denver District Court Case
No. 2020CV34319.




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provide him with harmful information about Dr. Coomer.51 On December 5, 2020, he

posted a photo of Dr. Coomer’s house to his thousands of social media followers, stating,

“Blow this shit up. Share, put his name everywhere. No rest for this shitbag. Eric Coomer,

Eric Coomer, Eric Coomer. This shitbag and the corrupt asshats in Dominion Voting

Systems must not steal our election and our country! Eric we are watching you . . . .”52 On

December 14, 2020, he admitted to having Dr. Coomer surveilled, claiming that he had

people watching Dr. Coomer’s every move and following him everywhere he went.53

        38.     This alarming conduct did not deter Clay Clark, however, who still invited

Oltmann onto his podcast the ThriveTime Show on December 22, 2020, where he

provided his national platform for Oltmann to continue spreading his false and dangerous

claims about Dr. Coomer.

        39.     Oltmann’s response to the continuing erosion of his credibility and the

increasing costs of litigating his baseless defense has been to become increasingly volatile

and belligerent. In addition to repeatedly asserting that Dr. Coomer can and should be

put to death for treason, Oltmann has also called for his perceived enemies to be hanged




51 See Jim Hoft, Denver Business Owner: Dominion’s Eric Coomer is an Unhinged Sociopath – His Internet

Profile is Being Deleted and Erased (AUDIO), THE GATEWAY PUNDIT, (Nov. 16, 2020) (Audio interview
wherein Oltmann claimed he called Dr. Coomer’s friend and threatened that he would “be the next person
that [Oltmann] put[s] on Twitter” if he hung up the phone.)
52 See Joseph Oltmann (@Joeoltmann), PARLER, (Dec. 6, 2020)


53 See Joe Oltmann, Dominion Audit Proves Fraud!, CONSERVATIVE DAILY PODCAST (Dec. 14, 2020)
(Oltmann: “He should never be allowed to leave his house, at all, without everybody knowing who he is,
where he is. I have people in Salida that literally are following him around and saying alright, Joe. Here’s
where he’s at next. Here’s where he’s at next. I found him. He’s staying in this basement, up here. Oh,
he’s at his house now.”)




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“two inches off the ground, so they choke to death.”54 He has called for mass executions

of his political opponents, who he deems “traitors” to the country, including Colorado

Governor Jared Polis and many U.S. Senators.55 On his Conservative Daily podcast on

December 3, 2021, for example, his co-host Max McGuire read aloud the names of

19 Senate Republicans who had voted with Democrats to approve an 11-week stopgap

spending bill. “There’s your list of 19 traitors to the American people, along with all the

other traitors to the American people,” Oltmann said. “I want people to go out there and

get some wood. The gallows are getting longer and longer. We should be able to build

gallows all the way from Washington, D.C. to California.”56 Later in the show, Oltmann

mentioned something he claimed to have posted online calling Governor Polis a liar and

a traitor. “So that’s what I sent to Governor Polis,” he said. “Gallows. I had to stretch

that rope.”57 In another of many similar instances, on December 13, 2021, Oltmann

referred to “the left” as “the trash that frankly we should drag behind our car until body

parts fall off.”58 This disconcerting rhetoric, and Oltmann’s corresponding assurances

that he sincerely means his calls for violence, have only heightened the emotional distress



54 See Chase Woodruff, ‘Stretch that rope’: Colorado Conservative leader suggests Gov. Polis should be

hanged, COLORADO NEWSLINE (Dec. 3, 2021), https://coloradonewsline.com/2021/12/03/stretch-that-
rope-colorado-conservative-leader-suggests-gov-polis-should-be-hanged/ (last visited Dec. 21, 2021);
see also Joe Oltmann, McConnell Stabbed You In The Back, CONSERVATIVE DAILY PODCAST (Dec. 3, 2021).
55 Id.

56 Id.

57 Id.

58 See Joe Oltmann, Arrested for Standing Outside the Capitol!, Conservative Daily Podcast, (Dec. 13, 2021)

(Oltmann: “When I say the evil are everything they say they’re fighting against, when they are the
pedophiles, the rapists, the closet racists, when they are the disgusting part about our society. When they
lie all the time, when they can’t tell the truth, and I’m putting emphasis on this. When they are the trash
that frankly we should drag behind our car until body parts fall off.”)




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experienced by Dr. Coomer as he continues to endure the stress and anxiety of threats

being regularly directed at him personally.             This type of language and behavior is

commonplace for Oltmann, who Defendants continue to promote, endorse, and publish.

D.     Clay Clark, the ThriveTime Show, and the ReAwaken America Tour.                                 Formatted: Keep with next


       40.     Clark is an entrepreneur who got his start in the wedding DJ business in

Tulsa, Oklahoma.59 Since that time, he has founded a variety of other businesses that he

owns and manages.

       41.     ThriveTime Show is a trade name for Make Your Life Epic LLC and also the

title of a podcast hosted by Clark, which is published on the show’s website,

thrivetimeshow.com. The show’s full title is “ThriveTime Show: Business School Without

the BS,” and includes a mixture of interviews with entrepreneurs in addition to religious

and political commentary.           ThriveTime publishes and promotes audio and video

recordings of its podcasts across multiple online platforms.

       42.     Clark frequently uses the ThriveTime Show to publish theories relating to

his belief that the world is controlled by a secret cabal. More specifically, Clark believes

that the leader of the World Economic Forum (WEF), Claus Schwab, is intent on

instituting a “New World Order” aimed at fundamentally altering life not only in the

United States, but all over the world. Clark asserts that President Biden’s decision to give

a speech at a WEF event is evidence that Biden is a supporter of Schwab’s alleged plans,

and that his election as president in 2020 is part of a wider scheme for world domination.




59 See Kendra Blevins, Clay Clark Spins Success At Growing DJ Connection, GTR NEWS, (Aug. 25, 2008),

https://gtrnews.com/clayclarkspinssuccessatgrowingdjconnection-d1/ (last visited Dec. 21, 2021).




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This overarching preconceived narrative is part of a belief system Clark adopted in early

2020 with the advent of the Covid-19 pandemic, and specifically with reference to

Schwab’s July, 2020 publication of the book “Covid-19: The Great Reset”. These beliefs

are all closely tied to the broader QAnon conspiracy theory, which also gained a large

following during the Covid-19 pandemic.

       43.     Clark’s beliefs about the “Great Reset” incorporate a variety of disparate

cultural grievances, all of which he posits as evidence for secret global plot to

fundamentally alter American society. These disparate themes include, but are not

limited to, beliefs that Covid-19 is a hoax and/or not actually dangerous; that Covid-19 is

part of a plot by a secret cabal of global elites with the intent to seize and/or strengthen

their power; that the 2020 presidential election was rigged against former president

Trump in order to further the cultural changes outlined in “The Great Reset”; and that

“satanic” forces are actively manipulating American electoral outcomes.

       44.     In early 2021, ThriveTime and/or Reopen America LLC dba ReAwaken

America Tour also founded the ReAwaken America Tour (the Tour), which travels the

country and performs in a new city on average once a month. ThriveTime promotes and

sells tickets to the Tour events through its website.60 ThriveTime livestreams the Tour

events in real time and has published hundreds of videos from the Tour events, including

both full-day recordings and recordings of individual speakers. Upon information and

belief, ReAwaken is the entity that puts on Tour events and collects revenue associated

with the Tour.


60 See https://www.thrivetimeshow.com/reawaken-america-tour/ (last visited Dec. 21, 2021).




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         45.   The first Tour event was held in Tulsa, Oklahoma, on April 16-17, 2021. The

Tour billed itself as “Clay Clark’s Health & Freedom Conference” and included speakers

such as Michael Flynn, Sidney Powell, Mike Lindell, and Lin Wood.61

         46.   The Tour made its second stop in Tampa Bay, Florida, from June 17-19,

2021. This time, the Tour had rebranded itself as “Clay Clark’s Reopen America Tour:

The Health and Freedom Conference 2021.”62 Featured speakers again included Michael

Flynn and Mike Lindell, as well as more than two dozen other conservative political

activists, vaccine skeptics, QAnon promoters, election fraud conspiracy theorists, and

others.63

         47.   The following month, the Tour held a conference in Anaheim, California on

July 17-18, 2021. The Tour again rebranded itself, this time as “Clay Clark’s ReAwaken

America Tour.”64 The growing cast of speakers still included headliners Michael Flynn

and Mike Lindell, but this time had expanded to include Oltmann. Promotional materials

for the event claimed it was “100% SOLD OUT!” while simultaneously encouraging

viewers to “GET YOUR TICKETS NOW!”65

         48.   The Tour continued the next month from August 19-21, 2021, at the DeVos

Place Convention Center in Grand Rapids, Michigan. The event included an expanded




61 See https://caincloud.egnyte.com/dl/3uoHKjo7IT/Flyer_-_Tulsa.pdf_

62 See https://caincloud.egnyte.com/dl/2hQKZSDvnN/Flyer_-_Tampa_Bay.pdf_

63 Id.

64 See https://caincloud.egnyte.com/dl/0qGYtpssNw/Flyer_-_Anaheim.pdf_

65 Id.




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list of speakers, again including Oltmann. Promotional materials for the Grand Rapids

event indicated that the Tour was “Sponsored by Charisma Media.”

       49.     The Tour came to Colorado on September 24-25, 2021, appearing at the

Charis Christian Center in Colorado Springs. Michael Flynn again headlined the event,

with Oltmann and others included as featured speakers.




       50.     Since the Colorado event in September, the Tour has made two stops in

Texas, first in San Antonio from November 11-13 2021,66 and again in Dallas from

December 10-12, 2021.67 Oltmann was a featured speaker at both events. The Tour’s


66 See https://caincloud.egnyte.com/dl/M6cR9DwHc7/Flyer_-_San_Antonio.pdf_

67 See https://caincloud.egnyte.com/dl/xTsdKXPAya/Flyer_-_Dallas.pdf_




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website, hosted by Defendant Thrivetime, indicates planned tour stops in 2022 including

Phoenix, Arizona (January 2022); Canton, Ohio (February 2022); Tulsa, Oklahoma

(March 2022); San Diego, California (March 2022); and Redmond, Oregon

(April 2022).68

        51.      In every instance, the Tour livestreams its events online to a national

audience, which it promotes across various platforms.

E.      The ThriveTime Show interviews.

        52.      On December 3, 2020, Clark requested an interview with Oltmann to

publish on his Thrivetime Show podcast.                     After making contact with Oltmann’s

scheduling assistant, Clark emailed a list of eighteen proposed topics to Oltmann on

December 4, 2020. Some of those proposed topics included the following:

        a.       “What does every American need to know about Eric Coomer and
                 DOMINION?”
        b.       “When did you first discover the ANTIFA loving nature of Eric
                 Coomer?”
        c.       “What happened to the VOTING systems in Georgia, and what was
                 Eric Coomer’s role in this?
        d.       “What action do you want our listeners to take as a result of today’s
                 show?”
        e.       “What do we do with people that commit treason, sedition, and
                 subversive activities?”69
        f.       “Is Eric Coomer going to go to jail for this?
        g.       “Where is Eric Coomer going?”
        h.       “Why is it important for people to know that George Soros and
                 Dominion actually shared office space?”




68 See https://www.thrivetimeshow.com/reawaken-america-tour/ (last visited Dec. 21, 2021).

69 This proposed topic included a link to 18 USC 2381, which states that anyone “guilty of treason … shall

suffer death, or shall be imprisoned not less than five years.”




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       53.    Due to scheduling difficulties, the interview did not ultimately occur until

more than two weeks later. During the interim, Clark did not make any effort to

investigate the veracity of Oltmann’s claims or to identify any underlying evidence to

support them. During this same timeframe, Oltmann was repeatedly publishing calls for

violence against Dr. Coomer, as well as describing his own efforts to surveil and terrorize

Dr. Coomer.

       54.    For example, on the same day that Clark requested an interview with

Oltmann, December 3, Oltmann referred to Dr. Coomer and stated, “I found him. I just

want you to know I found him. And for that that said it wasn’t fake news that he was

hiding, I have pictures of him coming out of hiding. Pictures. Yeah, the guy is a creep.”

Oltmann went on to state, “I know that he drives a truck. I know that his truck’s parked

at his house,” and “I just want him to know while he’s listening to the show, because I

know he’s listening to this show, I want him to know we know where he is.” As noted

above, Oltmann published photos of Dr. Coomer’s house two days later with a call to his

followers to engage in a constant harassment campaign.

       55.    On December 8, 2020, Dr. Coomer published an op-ed in the Denver Post

denying the false allegations against him, describing the threats and harassment he was

enduring, and calling for an end to the false accusations.

       56.    Despite all of these readily available pieces of information about both Joe

Oltmann and Eric Coomer, Clark made no effort to change course, and proceeded with

the Thrivetime interview of Joe Oltmann.




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       57.    On December 22, 2020, Clark published an episode of his podcast

ThriveTime Show titled, “Exposing the Treasonous Eric Coomer the ANTIFA Member

and the Director of Strategy and Security at DOMINION Voting Systems.” The podcast

featured an interview with Oltmann and was published across multiple media platforms,

including Twitter, Facebook, Thrivetimeshow.com, and various podcast hosting

platforms.

       58.    The interview began with Clark informing his audience that Oltmann would

be presenting the truth, as opposed to opinion or hyperbole. Referring to Oltmann, Clark

stated, “He joins us today to expose the truth, that the Director of Strategy and Security

for Dominion Voting Systems is in fact a member of Antifa. Yes, I repeat, the Director of

Strategy, I can’t make this up, the Director of Security for Dominion Voting Systems is in

fact a member of Antifa.”

       59.    As the interview proceeded, Clark emphasized that he would be “exposing

the truth.” Clark stated:

       Thrive Nation, occasionally there is a time in American history where you
       or I, we discover some truth that maybe is uncomfortable. We discover an
       atrocity going on. And we have an option. We can either watch the
       atrocities going on in front of us and say nothing, and actually be complicit
       because we say nothing, or we can stand up for what’s right. And I happen
       to believe that it’s never the wrong time to do the right thing. So on today’s
       show we have a guest who is actually on my prayer list right now. I’ve got a
       little prayer list and I keep this guy’s name on my prayer list because he is
       exposing the truth. And any time you expose the truth, remember this
       Thrive Nation, no good deed goes unpunished. Now, with that being said,
       Joe Oltmann, welcome on to the ThriveTime Show.

       60.    Clark described Oltmann as “a whistleblower about Eric Coomer” and asked

how Oltmann had come across Dr. Coomer. Oltmann explained that his organization,




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FEC United, had been involved in attempting to identify Antifa journalists, and through

that process had begun “infiltrating” phone calls in the fall of 2020. In describing

“Antifa,” Oltmann stated, “You could equate them to the Nazi movement back in the

1940s. This is not hyperbole. This is not over exaggeration. These are people that are

burning down buildings. They are attacking people, doxing people, hurting people in the

community.” He claimed to have accessed multiple “Antifa” phone calls, stating, “In

infiltrating Antifa, we were able to get access to some of their conference calls. I was able

to infiltrate several of those calls, listen in on several of those calls myself.”70 Oltmann

described the call that he claimed included Dr. Coomer as follows:

       I’ll kind of walk through what was said. Eric starts talking. They identify
       him as Eric. Somebody asks who Eric is. Eric responds, or somebody
       responds, ‘Eric’s the Dominion guy.’ So that’s where I heard Eric Dominion
       guy. I didn’t even know what Dominion was. He continues to talk, Eric
       responds, and then somebody says, ‘Hey what are we going to do when f-ing
       Trump wins?’ And then he responds, ‘Don’t worry, Trump’s not going to
       win, I made sure of that.’ And then they all sort of laugh. So Eric continues
       to fortify the group and recruiting.

       61.     Oltmann went on to explain how he determined that the anonymous “Eric”

allegedly referred to in the call by other unknown and anonymous third parties, stating,

“I did my research on Eric. I started with Google search, really simple. Eric, Dominion,

Denver, Colorado. And up popped Dominion Voting Systems Eric Coomer.” Defendants

did not disclose during the interview that Oltmann could not confirm that the “Eric” on

the call was in fact Eric Coomer, despite Oltmann having admitted that repeatedly




70 Under oath in Coomer v. Donald J. Trump for President, et. al., Denver District Court Case
No. 2020CV34319, Oltmann denied that he had actually “accessed,” “infiltrated,” or “listened in on” any
other similar calls.




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elsewhere,71 including in writing to One America News Network on November 10, 2020.

Instead, he proceeded to assert the validity of his claims, stating, “The thing you need to

know about Eric Coomer, and Dominion, is that he’s also a large shareholder. So when

people say he’s just the Director of Strategy and Security, he’s not. His fingerprints are

on everything at Dominion, and he’s gone across the country and across the world.” In

reality, Dr. Coomer is not a shareholder of Dominion Voting Systems. Clark did not ask

for any evidence of this claim, nor did Oltmann provide any. Oltmann proceeded with

more falsehoods, stating:

        The reason why I know we’re over the target, that Eric Coomer is the target
        we should concentrate on, is that he holds the patents. Patents that he holds
        have actually been assigned to Dominion. He has very very deep ties to a
        radical group, or affiliated with, and so you’re talking about somebody that
        frankly has the ability to affect elections, and is in a position to affect those
        elections, but is also is kind of a wolf in sheep’s clothing. He sits back as a
        Director of Strategy and Security, but in actuality, he calls all the shots in
        Dominion.

In reality, the patents that Dr. Coomer contributed to served to make election auditing

more transparent and more secure.72 Furthermore, Dr. Coomer did not have the ability


71 See Joseph Oltmann, Dominion, Big Tech, and How They Stole It, CONSERVATIVE DAILY PODCAST (Nov. 9,

2020) (Oltmann at 16:01: “As the call carried on, a person who called himself Eric was on the call. Now I
can’t tell you if it was the same Eric but I’m going to tell you how it led me to gather the rest of this
information.” Oltmann at 17:10: “So Eric continues to fortify, so this person Eric continues to fortify groups
and recruiting and he was eccentric and very boisterous compared to what I remember hearing in his other
videos. I think it’s a match but I can’t be sure so I’m going to put that out there, but I can be sure of
everything else I’m about to share with you.” Oltmann at 52:52: “But I didn’t see him, right? They identified
him as Eric from Dominion, but I didn’t, I mean, I have to basically say that there could be, maybe it’s a
different guy, but that led me to all the other things that I got, which is, getting access to Facebook, getting
access to this information.”)
72 See Coomer v. Donald J. Trump for President, et. al., Denver District Court Case No. 2020CV34319,

Exhibit       O,      Declaration     of       J.    Alex      Haldermann      at      ¶¶    40-48,
https://www.courts.state.co.us/userfiles/file/Court_Probation/02nd_Judicial_District/Denver_District
_Court/Cases%20of%20Interest/20CV34319/001/2021-09-17%2019-59-
38%20EXHIBIT%20O%20%20Declaration%20of%20J%20Alex%20Halderman-COMPLETE.pdf                      (last
visited Dec. 21, 2021).




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to affect elections, nor did he call “all the shots” at Dominion. Here again, Clark simply

took Oltmann at his word.

       62.    The interview proceeded to take a darker turn, with Clark taking questions

from “a few great patriots in the studio” who “wanted to ask [Oltmann] questions.” Clark

stated that, “These guys are actually former members of the U.S. military. And there’s a

concern they have, is that the word ‘treason’ means the crime of betraying one’s country,

especially by attempting to kill the sovereign or overthrow the government. And you have

these people like Eric Coomer that are attempting to overthrow what appears to be the

will of the people.” Clark first asked an individual who identified himself as Joe Kent the

following: “Does it bother you, knowing that the head of Security and Strategy for

Dominion is a member of Antifa who wants to overthrow our country?” Kent then asked

Oltmann, “Joe, I just want to know, is the punishment actually going to fit the crime? Are

we going to get a slap on the wrist, or are they going to bring the boom?” Oltmann

answered by confirming that he was accusing Dr. Coomer of a crime punishable by death,

stating:

       I would like to say that we are going to bring the boom and that they’re going
       to find that these people are being held and imprisoned for long prison
       sentences. And frankly, if they’re found to have suppressed the voice of the
       American people, if it rises to that level, they can be put to death. I would
       like to think that we would as a deterrent have that happen, but I think
       there’s an immense amount of evil in our government structure.

       63.    The interview continued with Clark repeating and endorsing Oltmann’s

claim that Dr. Coomer had committed treason. Clark framed his question to the next

guest by asking, “What question would you have for Joe Oltmann about the treasonous




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behavior of Eric Coomer, the Strategy and Security Director of Dominion Voting

Systems?”

      64.    The interview ended with Oltmann seeking donations for his political

organization, FEC United, stating, “If you want to give to what we’re doing at FEC United,

you can go to fecunited.com. We know that we are over the target. We are creating some

great things in this country.” Clark concluded, “Thank you so much for sharing your time

and the truth with us today.”

      65.    After the Oltmann interview, Clark took to Facebook to promote the
                                                                                             Deleted: ,
interview and endorse Oltmann’s claims. The account belonging to Thrivetimeshow.com

posted:




                                                                                             Deleted:




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      66.    On Twitter, the account belonging to Clay Clark, @TheClayClark, posted

about the Oltmann interview as well:                                                       Deleted: .




      67.    The ThriveTime Show website also published the Oltmann interview, along

with a “Show Notes” summary. The notes included the title of the interview, which          Deleted:


identified Dr. Coomer as “treasonous,” and went on to highlight such questions as, “What

does every American need to know about Eric Coomer and DOMINION?” “How did you

first discover the ANTIFA loving nature of Eric Coomer?” “What happened to the

VOTING systems in Georgia, and what was Eric Coomer’s role in this?” and “What do we




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do with people that commit treason, sedition and subversive activities?” The final

question included a link to a government website identifying the punishment for treason

as death.

       68.    Nearly six months later, on June 5, 2021, Oltmann was again invited on the

ThriveTime Show as a guest. Again, Clark introduced Oltmann with reference to his false

claims about Dr. Coomer, stating, “Joe Oltmann, this is the guy who first discovered Eric

Coomer, the head of Strategy and Security for a company called Dominion. He was the

first one to expose the head of strategy and security for Dominion, Eric Coomer and his

corruption, his pro-Antifa social media posts.” Clark continued, “We are joined by

Joe Oltmann who is at the front lines, he is in the front lines right now folks. He is at the

tip of the spear exposing election fraud.”

       69.    As the interview continued, Clark again encouraged Oltmann to repeat his

false claims about Dr. Coomer. Oltmann explained, “I ended up getting involved in

uncovering Antifa because they were writing nasty articles about me and about the

organization, so that led to me getting on a phone call with Eric Coomer.” Oltmann went

on to state more falsehoods about Dr. Coomer, claiming “He talks about bias, but the true

bias is for a guy that literally can’t tell the truth. I know more about Eric Coomer than I

think any other person in the country because I’ve done an amazing amount of research

and I’ve gotten a lot of people to come forward with information about him.”

Clark responded, asking, “Hey where can we go to find all this Eric Coomer information?”

“I’ll ship it to you.” Oltmann conveniently responded. “I’ll send it to you.” In reality,




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Oltmann has no information whatsoever that Dr. Coomer partook in an Antifa conference

call, claimed on that call that he rigged the election, or did in fact rig the election.

       70.    As the interview proceeded, Oltmann assured Clark and the ThriveTime

audience that the upcoming conclusion of the Maricopa County audit would result in a

reversal of the 2020 election results, and he made further false assurances that audits in

Georgia were revealing election irregularities. “A hundred percent,” Oltmann said. “A

hundred percent.” Oltmann went on to again tie his claims to Dr. Coomer by way of the

adjudication process for which Dr. Coomer worked on certain patents, but he did so in

such a way as to implicate not just Dominion Voting Systems, but in fact several major

voting machine manufacturers. “The adjudication process is the lynchpin of how you can

manipulate votes,” Oltmann claimed. “Now obviously you can create phantom votes, or

excuse me, phantom ballots, or you can create fraudulent ballots. You can create those

things inside of the election system. Not just inside of the Dominion system, but also the

Smartmatic system as well. And ES&S. So these systems are all fundamentally built the

same way.” In reality, you cannot create phantom ballots, but Clark challenged neither

this nor Oltmann’s casual expansion of his claims against Dr. Coomer to now indict a

much more substantial portion of the voting machine industry.

       71.    After several more months of Oltmann’s ceaseless defamation campaign on

the ReAwaken America Tour and elsewhere (discussed below), Clark again invited

Oltmann on the ThriveTime Show on October 11, 2021, to use his national platform to

spread more falsehoods. True to form, Oltmann falsely stated, “It’s impossible to ignore

the fact that the fraud was so massive, the system is so compromised, that there is no way




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you can trust these voting machines. There’s no way you can trust the people in leadership

that are running those voting machines.          They’re all compromised because they

continually lie to us.”

F.     The Tour’s defamation of Dr. Coomer.                                                     Deleted: F.
                                                                                              Formatted: List Paragraph, Indent: Hanging: 0.5",
       72.    The Tour’s roster of speakers consistently includes Oltmann, who speaks on      Numbered + Level: 1 + Numbering Style: A, B, C, … + Start
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behalf of the Tour and regularly utilizes his allotted timeslot on the Tour stage to repeat

his false claims that Dr. Coomer participated in an Antifa conference call, claimed on that

call to have rigged the election, and did in fact rig the election. The Tour publishes

Oltmann’s defamatory statements across multiple platforms and uses Oltmann’s

appearances and likeness in its promotional materials. As discussed above, Clark has

repeatedly endorsed Oltmann’s claims about Dr. Coomer, and continues to ratify and

endorse those claims when presenting and introducing Oltmann on behalf of the Tour.

       73.    The Tour is co-founded by former National Security Advisor to Former

President Trump, Michael Flynn. Flynn co-starred with Oltmann in a film called The

Deep Rig that prominently featured lies about Dr. Coomer rigging the election. Flynn

typically headlines Tour events and has been personally present at every ReAwaken

America event since its founding.

       74.    Oltmann’s speech at the July 18, 2021 Tour conference in Anaheim,

California was typical. Oltmann introduced himself as a victim, stating, “I’m an unlikely

victim of this movement. I didn’t want this. I didn’t ask for it.” He then quickly

transitioned to repeating his false claims about Dr. Coomer, stating:

       I happened to get on a phone call with a guy named Eric Coomer back in
       September of last year, and he said, “Hey don’t worry about it, Trump’s not




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       going to win, I made sure of that.” I’m in the church of the lord so I’m not
       going to tell you what he said, but I am going to tell you that I didn’t know
       what I knew at that point. I didn’t know. I wrote it down, I thought these
       guys were nuts, and it wasn’t until three days after the election. You know
       what happened on election night. It wasn’t until three days afterwards that
       I figured out, somebody sent me an article, when his name was in there and
       he was the spokesperson for Dominion Voting Systems, what I was looking
       at.

       75.    In this first appearance onstage with the Tour, Oltmann informed the

audience that he “got sued by Eric Coomer.” Under oath, Clark confirmed that he was

aware of the lawsuit that Dr. Coomer filed against Oltmann, but that he had never read it

or asked for a copy of the complaint. “I’m trying to stop the Great Reset,” he said, “And

to me, this particular narrative or this particular discussion is not the most important in

my mind.”

       76.    At his next appearance in Grand Rapids, Michigan, on August 22, 2021,

Oltmann again began his speech by depicting himself as a victim. “I didn’t want to be in

this fight,” he claimed. “I didn’t ask for it. The sacrifices that I’ve made have been pretty

significant.” Oltmann then proceeded with his claims of election fraud, stating, “I want

you to know three facts. Number one, the election was stolen. Number two, foreign

entities funded and planned the true insurrection, exploiting the selfish desires of greedy

and power-hungry weak leaders in our country. True story. And the third of which is

President Trump is the rightful President of the United States.” He went on to assure his

audience that the then-ongoing “audit” of election results being conducted in Maricopa

County, Arizona, would result in the 2020 presidential election results being overturned.

“Now I don’t have first-hand knowledge,” he said. “I should probably say that. I have

second or third hand knowledge, but I think it’s pretty good. That knowledge is this.




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When that report comes out of Maricopa County, the mainstream media and all of them

are going to scurry like rats when the lights come on.” In reality, the Republican-led

“audit” in Maricopa County would go on to not only confirm the election results, but to

find that President Biden had actually gotten more votes than previously reported.

Oltmann concluded his speech with an attack on the judiciary, claiming “We have been

abandoned, and we have been betrayed by our judiciary. It is compromised. It is

complicit in the behavior, all the way up to the highest court.”

       77.    The next month, on September 25, 2021, Oltmann again appeared with the

Tour onstage in Colorado Springs, Colorado. Clark introduced Oltmann by saying, “Our

next presenter is Colorado’s very own tech entrepreneur and freedom loving patriot,

exposing the corruption of election fraud. Ladies and gentlemen, please stand and greet

Joe Oltmann.” In typical fashion, Oltmann again launched into attacks on Dr. Coomer,

this time also accusing Dr. Coomer of perjury. He stated:

       Here’s what I know. Eric Coomer was on that call. Eric Coomer who is the
       Director of Strategy and Security for Dominion Voting Systems is a liar. I
       just sat in a deposition with him where the guy literally lied about
       everything. Dominion Voting Systems is a system just like others that is
       designed to steal your voice. That’s not hyperbole. That’s not me making
       stuff up. That’s truth.

       78.    Oltmann, who regularly and increasingly calls for political violence, went on

to state, “They say Joe, you’re advocating for violence, and I would tell you this. When is

enough going to be enough? When are you going to keep moving that line back? Until it

kills you? Until they come for your children?”

       79.    At a subsequent appearance of the Tour in Canton, Ohio, Clark stated that

he knew that he and the Tour would get sued if they went to Colorado. “Perhaps you’re




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not aware,” he stated, “but the government does not want you talking about election fraud.

So people told me, if you do the Tour, if you bring it to Colorado you’re going to get sued.

I said, well, that’s exciting!” He went on to confirm that proceeding with the Tour

appearance in Colorado, despite knowing that they would be sued if they did so, was a

decision that he and his wife agreed on. “When I talked to my wife and asked her if we

could do it, we knew we would get sued, but you just have to have faith that people like

you will show up.” Under oath, Vanessa Clark denied this conversation, but confirmed

that “He knew that he would get sued.”

       80.    At Oltmann’s next appearance with the Tour in San Antonio, Texas, on

November 17, 2021, Clark introduced Oltmann by stating:

       Alright ladies and gentlemen, our next speaker, our next presenter, is a very
       successful entrepreneur who had hundreds of employees and all sorts of
       reasons to not fight back, but he discovered the corruption, the election
       fraud, and this little guy who was the head of security for a company called
       Dominion, by the name of Eric Coomer, who happens to be pro-Antifa. So
       he decided to put his career on hold and to put his hundred per cent focus
       on trying to save this nation and to expose the corruption of election fraud.
       Ladies and gentlemen, please stand to your feet and greet Joe Oltmann.

       81.    Oltmann took the stage and immediately promoted his political

organization, FEC United, and posted an image onscreen where his viewers could go to

donate money. He then transitioned to attacking Dr. Coomer, stating:

       I happened to get on this fateful call with Eric Coomer of Dominion Voting
       Systems and he said I wasn’t on that call. If you guys haven’t gotten a chance
       to watch his deposition, that four hours that Sidney Powell’s attorney
       eviscerated him in that deposition. He lied, then lied again, then lied again,
       then admitted at the very end, well, I might support Antifa. I didn’t lie.

       82.    Oltmann continued to promote claims of election fraud more generally,

stating, “We cannot go forward until we go and fix the election in 2020.” Oltmann went




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on to again casually and significantly broaden the scope of his claims, asserting that “We

know they didn’t steal six states or five states or three states, they stole all of them.” He

concluded by once again seeking donations to FEC United, saying, “Everyone needs to go

there [fecunited.com]. It’s $60 to sign up for the entire year. We have 279,000 members

and we grow by 500-800 members a day. I do not get paid anything to run around the

country and talk about election integrity, and to do my part to serve you.”

       83.    On December 11, 2021, the Tour continued the drumbeat of falsehoods

against Dr. Coomer in Dallas, Texas. This time Oltmann appeared onstage with former

inventor and “treasure hunter” Jovan Pulitzer and claimed to be wearing a hat provided

to him by QAnon podcast host Anne Vandersteel. He again raised his false allegations

against Dr. Coomer, falsely stating:

       So there was this day where I was asked to get on this call with Antifa
       because they were writing bad stuff about me. They were saying that I was
       some militiaman, that I was a right-wing extremist. I’ve never been extreme
       about anything, other than helping people in my community. I’ve had a
       nearly flawless reputation. I’ve lived my life by the principles of God.

       84.    Oltmann then continued the attacks on Coomer with more of the same

outright falsehoods, stating:

       But I was on that call with Eric Coomer that day. I wrote down copious
       notes how Trump’s not going to win, I’ll make sure of it. Don’t worry about
       it. That’s not what he said. He said, I can’t say it in a church. Don’t worry
       about Trump, he’s not going to win. I made [pauses] sure of it. Now at the
       time, that was in September, I had no idea what I was in for. I did my
       research on that guy. He had a doctorate. Now what kind of doctor goes
       out and supports Antifa? Come to find out that our country has been
       infected with people that have gone through and been indoctrinated with
       the education or training system in the universities.




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        85.     As he often does,73 Oltmann then added a series of new claims against

Dr. Coomer. Oltmann stated:

        He was just arrested a month ago, by the way, for a crime. Again. This is
        the guy that’s running 50% of our voting system. He’s the one that holds
        patents in the adjudication process. He’s the one that built some of the code
        that’s used in other election systems across our country. And we’ve been
        talking about all of the theft that’s happened, and I’m a subject matter
        expert on system architecture. I’m here to tell you one thing. The election
        on November 3, 2020, was stolen. By a lot, not a little.

        86.     In addition to recklessly defaming Dr. Coomer, the Tour also again gave

Oltmann a platform to call for violence. He went on to receive a standing ovation for

stating “And by the way, if you don’t like me talking about the gallows and hanging those

that are traitors against our country, then change the law because it’s in the constitution

that you should be hung.” Literally minutes after advocating for violence, Oltmann, who

regularly advocates for violence, concluded by stating “I do not advocate for violence, but

I will tell you, they are not going to take this country from us.”

        87.     Dr. Coomer filed suit against Defendants on December 22, 2021.



73 Oltmann has made numerous bizarre and baseless claims about Dr. Coomer with no factual basis
whatsoever. See, e.g., Joe Oltmann, Antifa Declares War on Trump Supporters, CONSERVATIVE DAILY
PODCAST, (Nov. 16, 2020) (falsely claiming Dr. Coomer has ties to Mitt Romney); Joe Oltmann, More
Dominion ‘Glitches’ Discovered in Georgia!, CONSERVATIVE DAILY PODCAST, (Nov. 17, 2020) (falsely
claiming that Dr. Coomer played a role in rigging the 2012 election in Mongolia); Joe Oltmann, Joe
Oltmann Discusses How a Security Genius at Dominion Voting Promised Antifa Members a Trump Loss,
THE ERIC METAXAS RADIO SHOW, (Nov. 24, 2020) (falsely claiming that Dr. Coomer had ties to the Bernie
Sanders political organization “Our Revolution”); Joe Oltmann, Georgia Trying to Delete Dominion
Machines, CONSERVATIVE DAILY PODCAST, (Nov. 30, 2020) (falsely claiming that Dr. Coomer “has separate
shell corporations that are offshore, foreign corporations that he happens to own” and falsely claiming that
he had discovered ties “between George Soros and Eric Coomer”); Joe Oltmann, Shameful Dems Attacking
Election Witnesses!, CONSERVATIVE DAILY PODCAST, (Dec. 3, 2020) (falsely claiming that secret forensic
auditors within the Department of Justice were “following the money of Eric Coomer”); Joe Oltmann,
Dominion Audit Proves Fraud!, CONSERVATIVE DAILY PODCAST, (Dec. 14, 2020) (falsely claiming that
Dr. Coomer “owns the patent for fractionalized voting”); Joe Oltmann, Donald Trump Still Has A Path,
CONSERVATIVE DAILY PODCAST, (Dec. 21, 2020) (falsely claiming that Dr. Coomer “has multiple bank
accounts with millions of dollars in it, overseas, in shadow accounts.”)




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G.     Post-Complaint Defamatory Publications.

       88.    Clay Clark’s wife Vanessa Clark, who is identified as a “Manager” of Make

Your Life Epic on various documents filed with the Oklahoma Secretary of State, has

stated that she laughed upon being informed of this lawsuit. “Okay, what, so you’re going

to sue us? Because I thought, at this point, okay, God told us to do this, but you think

we’re going to pull back now, because God told us to do this but you’re suing us so we

should stop? That doesn’t change what God said to do.” Clark’s daughter chimed in, “We

find it really funny. We always end up laughing about these things.” Defendants then

persisted in defaming Dr. Coomer through numerous publications across several

platforms for many months.

       89.    Defendants first doubled down by inviting Oltmann back onstage at the very

next appearance of the Tour in Phoenix, Arizona, on January 15, 2022.

       90.    Clark introduced Oltmann by stating, “Ladies and gentlemen, here to talk

to you about the mechanics of the 2020 election fraud, it’s my good friend and successful

entrepreneur Joe Oltmann!” Oltmann went on to assure the audience the 2020 election

had been rigged, stating, “We know the election was stolen. We know that to be a fact.”

He continued, “If you don’t think that fraud exists in the election, and you don’t think that

the election was actually stolen, you’re either stupid, sorry, or you’re just not that bright.

Those are your two choices. You better get on the other side.”

       91.    Just eleven days later, on January 26, 2022, Clark appeared on Oltmann’s

podcast to promote the ReAwaken America Tour. Oltmann took the opportunity to

promise violence against his perceived enemies, stating, “I could promise you this. If I go




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down, I’m going to take someone down with me. I am heavily armed every day of the

week. Am I not, Mr. Producer? I think I am.”

       92.    Two months later, on March 15, 2022, Clark was back on Conservative Daily

once again. Discussing their shared grievances against Israeli historian Yuval Noah

Harari, Oltmann stated, “I think we all need to go home and get our AR-15s and have a

little bit of a conversation with Mr. Harari, up front and in person.” Oltmann went on to

state, “I’m laughing but really I just want to beat this guy to a bloody pulp.” Despite

kicking off their conversation with various threats of violence, Oltmann went on to ask

Clark, “Am I still invited on this one [the upcoming ReAwaken America Tour event in

Salem, Oregon]?” “Yeah,” Clark responded, “You want to speak on Saturday the 2nd?”

       93.    In the lengthy interview, Clark and Oltmann then went on to discuss

Dr. Coomer. “You and I are kind of connected because of the lawsuit,” Clark stated. “His

claim is that the ReAwaken America Tour provided a platform to allow you, Lindell, and

others to share information that would have defamed him.” “The guy is evil personified,”

Oltmann stated. “He literally is evil.” Veering into his frequent paranoid delusions,

Oltmann went on to state, “I live in a world where I have to carry a gun . . . where I have

to spend a half million dollars to defend myself against a guy like Eric Coomer. A known

piece of trash lying crapbag … an evil Eeyore, with Satan on his arm.”

       94.    A couple weeks later, Oltmann again appeared onstage with the Tour in

Salem, Oregon, on April 1, 2022. Clark introduced Oltmann by discussing this lawsuit.

He asked, “How many of you know that this tour is being sued by Eric Coomer, the Former




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Director of Strategy and Security for Dominion Voting Systems?” He went on to assure

the audience that Oltmann would present evidence of Dr. Coomer’s “corruption,” stating:

       We’re not going to be stopped. So, specifically our next presenter, he has
       been exposing the corruption of Dominion, of Eric Coomer, of election
       fraud, and he’s here with you today to share the truth about high integrity
       elections and how we’re going to move to a place where election fraud is no
       longer possible in these great United States. Ladies and gentlemen, please
       stand to your feet and greet the successful entrepreneur with hundreds of
       employees who has decided to devote his entire treasure and time to
       exposing election fraud. Ladies and gentlemen, it’s Joe Oltmann!

       95.    As promised, Oltmann repeated his lies about Dr. Coomer, all while taking

credit for being the origin of the Dominion Voting Systems conspiracy theory. “When I

stepped out in November 2020, no one even knew what Dominion was,” he stated. “And

so when I stepped out I talked about that fateful call that Eric Coomer was on where he

said don’t worry about the election, Trump won’t win, I made sure of it.” In his lengthy

appearance presenting supposed “evidence” of election fraud, Oltmann encouraged the

audience to take action. “We have to focus on the problem, and the problem right now is

that the elections have been stolen.”

       96.    Months later, Clark was back on Conservative Daily on August 3, 2022. He

and Oltmann again promoted the Tour. “Joe are you coming to [the upcoming Tour event

in] New York?” Clark asked. “Because you have sort of like a standing invitation, and so

I think I’ve got you on there, but I’ll call you afterwards and we’ll figure out your timeslot.”

The two then went on to again discuss Dr. Coomer and this lawsuit, with Clark stating,

“Mike Lindell and yourself and myself and now others, there’s a good handful of us that

are being sued for these sorts of things. The Trump administration is being sued for these

sorts of things, so I would just say I kind of wear it as a badge of honor.”




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       97.     During that interview, Oltmann went on to claim that he would someday

reveal the supposed “source” that got him access to the alleged “antifa call.” “I have an ace

in that deal,” Oltmann lied, stating, “because at some point, I’m going to come forward

with that guy. I’m going to. I’m just telling you right now, I’m going to. And it’s going to

get really bad. Because at that point, the rest of their argument fall apart. And then all

the money they’ve spent on this lawfare, we get all of our money back. I’m just telling

you.” Clark responded, “That would be nice. Whenever you feel the desire to do that, I

would love and appreciate that.”

       98.     In reality, there is no “source” because Oltmann made up the whole story.

In this proceeding, he fled the courthouse during a court ordered deposition rather than

answer questions about the “antifa call.”74

       99.     A few weeks later, despite never having been provided any evidence from

Oltmann supporting his false claims, Clark again published statements directly tying

Dr. Coomer to false allegations of “election fraud. On August 25, 2022, Clark attempted

to solicit donations to his legal expense fundraiser on GiveSendGo.com on his Thrivetime

Show podcast. Clark stated that his legal defense cost “almost three thousand dollars a

day” and stated, “if you can donate anything at all to support our ongoing litigation versus

Eric Coomer, the former head of strategy and security for Dominion who believes that the

Reawaken America Tour is defaming him. Apparently a lot of people don’t want you to

know about election fraud.”




74 See generally, Recommendation of United States Magistrate Judge for a Finding of Civil Contempt

Against Third Party Witness Joseph Oltmann [Dkt. 144] (June 14, 2024).




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       100.    Upon      information     and    belief,   Clark    started   this   fundraiser   in

February 2022, which was then labeled as the “ReAwaken America vs. Dominion Lawsuit

Defense Fund.” The landing page for the fundraiser stated that “Eric Coomer, the forder

director of strategy and security for Dominion Voting has filed a lawsuit against Clay Clark

and the ReAwaken America Tour in an attempt to stop the tour … All proceeds will go

towards the legal defense for the ReAwaken America Tour against Eric Coomer formerly

on Dominion Voting Sytems.” As of this writing, the fundraiser has raised $164,128.00.75

       101.    One month later, Clark was back again on September 13, 2022. “I know

you’re being sued by Eric Coomer,” Oltmann stated. “Your lawyer is probably telling you

not to talk about that at all.” Clark responded by explicitly affirming the factual “truth” of

the false allegations at issue in this dispute, stating:

       So he is saying that the Tour, and specifically your involvement with the
       Tour and me, and you being on the stage, and people like Mike Lindell and
       others sharing the truth about what’s happening is defaming him. So I
       would just, my argument to Eric Coomer, if I was with him right now, would
       be, Eric, you speaking, you just being Eric is what’s defaming you. It’s called
       a reputation. So Eric being Eric is what defames him, because it’s called a
       reputation. And I know we’re in a weird world right now, but the word
       reputation is basically a summary of what the world thinks about you based
       upon what you do. It’s what the world thinks about when you’re not in the
       room. And we all work hard to protect our reputation and to build a
       reputation, and my recommendation Mr. Eric Coomer is that you would
       repent and to acknowledge the errors in your ways and to ask our lord and
       savior Jesus Christ into your heart, and to say you know what? I need to
       seek forgiveness, and to go the other way.

       102.    Under oath, Tour co-founder Michael Flynn stated that he has watched

every performer on the Tour. When asked about Oltmann, however, Flynn equivocated.



75 See https://www.givesendgo.com/reawaken (last visited Aug. 19, 2024).




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Despite having co-starred with Oltmann in The Deep Rig,76 a conspiracy film that

prominently accuses Dr. Coomer of rigging the 2020 election, Flynn claimed to not be

familiar with Oltmann or his claims about Dr. Coomer. He testified that he knew nothing

about Eric Coomer, was not familiar with the “antifa call” story, and had never looked into

it. He claimed he wouldn’t recognize Joe Oltmann if he walked in the room. And he stated

that he was not aware of any evidence to suggest that Eric Coomer or Dominion Voting

Systems rigged the 2020 election.

H.      Oltmann’s claims were and are obviously false.                                                        Formatted: Indent: Hanging: 0.5", Numbered + Level: 1 +
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        103.    Then, as now, Defendants had numerous reasons to know that Oltmann’s

claims about Dr. Coomer were false and that they have published and continue to publish

highly defamatory content with reckless disregard for the truth.

        104.    Oltmann has offered no evidence in support of his allegations against

Dr. Coomer. Oltmann does not know Dr. Coomer and had no personal knowledge of

Dr. Coomer at the time of the alleged Antifa conference call. Oltmann has not disclosed

any witness with personal knowledge that identified Dr. Coomer on the alleged Antifa

conference call. Oltmann has not identified any expertise or reliable methodology with

which he identified Dr. Coomer on the alleged Antifa conference call. Oltmann did not

record the call despite alleging conducting a Project Veritas-style sting to expose Antifa

journalists. Instead, Oltmann’s allegations against Dr. Coomer were based on Oltmann’s

speculation of an alleged Google search and alleged YouTube videos of Dr. Coomer he



76 This defamatory publication, which posits Oltmann’s false claims about Dr. Coomer as the lynchpin to

the supposed plot to “rig” the election against former President Trump, is the basis for related proceeding
Coomer v. Byrne, et. al., Case No. 8:24-cv-8-TPB-SPF (M. D. Fla.).




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claims to have subsequently watched at a later undisclosed time. These are not reliable

methodologies for identification.

      105.   Similarly, Oltmann has no personal knowledge of any election fraud

involving Dr. Coomer. Oltmann has not disclosed any witness with personal knowledge

of any election fraud committed by Dr. Coomer. Oltmann has offered no evidence of

election fraud committed by Dr. Coomer. And Oltmann has not identified any expertise

in elections systems with which to identify election fraud. Instead, Oltmann’s allegations

of fraud were based on his speculation of Dr. Coomer’s Facebook posts and his

employment with Dominion, neither of which include evidence of election fraud.

The Facebook posts themselves are limited to Dr. Coomer’s personal and political beliefs,

which have no probative value as to the allegations made.

      106.   Otherwise, Oltmann’s allegations are based on anonymous sources—

specifically unknown and unverified speakers on an Antifa call Oltmann allegedly

infiltrated. Only after Dr. Coomer filed suit against Oltmann did Oltmann claim to have

personal knowledge of other participants on the purported call. However, the witnesses

Oltmann directly or indirectly identified have denied any knowledge of such a call, denied

any knowledge of the statements Oltmann alleged occurred on the call, and denied any

knowledge of Dr. Coomer on such a call. No other participants have come forward and

Oltmann has not disclosed any other alleged participants. Regardless, Oltmann’s alleged

knowledge of some participants does not impute knowledge of the relevant unknown and

unverified speakers on which Oltmann based his claims. Those alleged speakers remain

anonymous.




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      107.   Oltmann’s allegations regarding the alleged Antifa call itself have varied.

Oltmann initially provided no explanation for how he infiltrated the alleged Antifa call.

Oltmann then claimed to have gained access from a Colorado Springs journalist,

Heidi Beedle. However, Heidi Beedle has provided sworn testimony that she has no

knowledge of the alleged call or Oltmann’s allegations. Oltmann has since acknowledged

his claim that she was on the call was a “wild guess.” Oltmann now claims another

unnamed Antifa member gave him access to the call but has refused to disclose the alleged

witness’s name. Oltmann has not identified when the purported call occurred, at times

placing the call in mid-to late-September and at times stating it occurred on or about the

week of September 27, 2020. Whereas a screenshot Oltmann allegedly took of the Google

search of the terms “Eric,” “Dominion,” and “Denver Colorado” is dated September 26,

2020, which would place the Google search before the call.          However, Oltmann’s

placement of the call changed again with the filing of his reply in support of his special

motion to dismiss in Denver District Court. Specifically, Oltmann introduced in his reply

the Declaration of John “Tig” Tiegen (Tiegen), who claims Oltmann alleged a call occurred

sometime between September 17 and 21, 2020.            Notably, Tiegen’s description of

Oltmann’s allegations did not include Dr. Coomer, Dominion, or election fraud, but,

instead, only theories that “journalists were trying out some propaganda.” Tiegen himself

has no personal knowledge of an alleged call or of Oltmann’s allegations against

Dr. Coomer. Oltmann has provided no record evidence of the call itself, such as electronic

records contemporaneously made that list identifying information such as the date, time,

or method of the call. Instead, Oltmann has provided undated notes Oltmann alleges he




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took during the call. Similarly, the method of communication has also changed with

Oltmann first alleging it was a phone call only to now allege it was a Zoom call. Moreover,

Oltmann has no recording of the call despite Oltmann having allegedly accessed it to

investigate Antifa.77

        108.    In addition, Oltmann has continually defied court-ordered discovery related

to this matter; refused to produce relevant evidence; refused to disclose alleged

information; and refused to provide relevant deposition testimony. This conduct is not

new, nor is it unknown to Defendants, as Oltmann regularly discusses his legal troubles

on the Tour. Oltmann’s convenient excuse—that he fears his source will be subjected to

some unspecified harm—only serves to highlight his deception. Like his unnamed,

unsubstantiated source, Oltmann has put forth no credible evidence of an acute threat to

anyone in this case—except Dr. Coomer.

I.      The harm Defendants caused Dr. Coomer.                                                              Formatted: Indent: Hanging: 0.5", Numbered + Level: 1 +
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        109.    The harm caused by Defendants’ repeated and ongoing nationwide

publication of false claims about Dr. Coomer is immense. Despite an utter lack of any

evidence whatsoever for the false claims, Dr. Coomer has received countless credible

death threats, and continues to receive those threats on a regular basis. Defendants are

familiar with Oltmann’s social media presence and his daily podcast. Oltmann has been

a repeated guest on the ThriveTime Show podcast and the Tour continues to promote and

publish false claims about Dr. Coomer. The following are just a few illustrative examples



77 See Joseph Oltmann, Dominion, Big Tech, and How They Stole It, CONSERVATIVE DAILY PODCAST (Nov. 9,

2020) (McGuire at 1:06:27: “But we don’t have it recorded.” Oltmann: “It doesn’t matter that I don’t have
it recorded!”)




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of the countless threats directed at Dr. Coomer on the basis of the lies that Defendants

have published and persist in publishing.

       110.   Within days of Clark’s first interview with Oltmann on the ThriveTime

Show, numerous threats were directed against Dr. Coomer across various social media

platforms. For example, on December 27, 2020, Twitter user @tahntahn76 commented

on Dr. Coomer, stating “Crimes against humanity? You bet! Treason? You better believe

it!” and posted the following:




       111.   The next day, December 28, 2020, Twitter user @garybenoit63 responded

to a tweet about Dr. Coomer authored by Lin Wood by suggesting a “hemp necklace” and

saying to “Hang the treasonous bastards”:




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      112.   That same day, Twitter user @annie90883953 suggested that Dr. Coomer

might soon “die in an accident.”




      113.   On May 8, 2021, between the Tour’s appearances in Tulsa and Tampa Bay,

Twitter user @HoseaCanusimi agreed that Dr. Coomer would soon be executed for

treason.




                                                                                        Deleted:
      114.   A week later, on May 15, 2021, Twitter user @RogaJolly called Dr. Coomer

a “traitor” and said he was “on his way to GITMO for treason.”




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                                                                                                Deleted:   ¶



       115.   As another example, on September 21, 2021, just before his appearance with

the Tour in Colorado Springs, Oltmann referred to Dr. Coomer as “This lying piece of shit”

on his Telegram account. Telegram user Luke 12:2 responded, “Coomer deserves the

GUILLOTINE! Yes, I said what I said. No, I will not apologize. Screenshot it, commie

trash!!”

       116.   On October 29, 2021, two weeks before the Tour put Oltmann onstage in

San Antonio, Oltmann posted on Telegram, “Coooooooomer! I am not even remotely

done with this truly fascist piece of trash or the Antifa judge. Telegram user Nicholas

Cekinovich responded, “Coomer reds [sic] to be at the end of a rope.” User Luke 12:2

chimed in, “Rot in fu*king hell Coomer. ROT. IN. HELL!!”

       117.   Despite all of this, Defendants persisted and continue to persist in airing the

false claims against Dr. Coomer. The onslaught of threats Dr. Coomer has experienced

and the necessary measures he has been forced to take to protect himself are the direct

result of Defendants’ defamatory conduct.         Dr. Coomer has and will continue to



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experience serious and severe emotional and physical distress as a result. The harm

Defendants have caused to Dr. Coomer’s reputation,78 privacy, safety, and earnings, and

other pecuniary loss is immense.

                                   V.      CAUSES OF ACTION

A.     Defamation Against All Defendants

       118.    Plaintiff fully incorporates the prior paragraphs, as well as the Introduction

of this Complaint.

       119.    Dr. Coomer is neither a public official nor a public figure. He is a private

individual that Defendants, by their own conduct and for their own ends, targeted and

elevated into the public sphere. Defendants intentionally caused the publication of false

and unprivileged oral and written statements about Dr. Coomer and ratified false

statements of and concerning Dr. Coomer made by others. Their false statements have

been seen, read, or heard by millions of individuals across the United States, across

Colorado, and specifically in Denver, Colorado.

       120.    The defamatory meaning of Defendants’ false statements is apparent from

the face of their publication, refer to Dr. Coomer, and are understood to be about him.

These statements are defamatory per se as they inherently injure Dr. Coomer’s

reputation, impute a crime, and disparage his business practices. On their face, they

falsely assert Dr. Coomer has participated in a conspiracy that undermined the integrity


78 These false statements have damaged Dr. Coomer’s professional reputation, which depended on working

relationships with state and county officials and compromised his continued involvement and employment
in relation to and support of elections. See Saja Hindi, GOP demand for probe of Colorado’s Dominion
voting system part of “debunked conspiracy theories.” House speaker says, DENVER POST, Dec. 7, 2020,
https://www.denverpost.com/2020/12/07/colorado-republicans-dominion-investigation/.




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of the election; disenfranchised millions of voters; and fraudulently elected the president

of the United States. Defendants falsely allege Dr. Coomer accomplished this through

fraudulent business practices as an employee of Dominion. Defendants falsely allege

Dr. Coomer is a traitor. Defendants’ false statements have subjected Dr. Coomer to scorn,

outrage, and threats from his community.          Their false statements have harmed

Dr. Coomer’s reputation by lowering him in the estimation of at least a substantial and

respectable minority of the community.

       121.   Defendants published their false statements both negligently and with

actual malice. Defendants knew or had reason to know that these statements were false

and published their statements with knowledge or reckless disregard of their falsity.

Defendants failed to contact and question obvious available sources for corroboration;

disregarded reliable sources refuting their claims; had no credible bases for the false

allegations made; fabricated specific allegations; treated speculation and innuendo as

evidence; and published their allegations in a manner calculated to create a false

inference. Their allegations were inherently improbable, derived from unreliable sources,

and are unsupported by evidence. Defendants preconceived a conspiracy and then set out

to establish that conspiracy to further their own ends. ThriveTime and ReAwaken ratified

and endorsed the statements of Clark and the other hosts who promoted the false claims

against Dr. Coomer and both are independently and vicariously liable for the conduct

described herein. ThriveTime and ReAwaken could have put a stop to its hosts’ conduct

and intentionally allowed them to continue to defame Dr. Coomer.




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       122.   As a direct and proximate result of Defendants’ conduct, Dr. Coomer has

suffered significant actual and special damages including, without limitation, harm to his

reputation, emotional distress, stress, anxiety, lost earnings, and other pecuniary loss.

B.     Intentional Infliction of Emotional Distress Against All Defendants

       123.   Plaintiff fully incorporates the prior paragraphs, as well as the Introduction

of this Complaint.

       124.   Defendants engaged in extreme and outrageous conduct. Their conduct was

calculated to cause Dr. Coomer severe emotional distress. Defendants falsely alleged

Dr. Coomer perpetrated a criminal conspiracy against every American citizen to overturn

the results of the presidential election. They branded Dr. Coomer a traitor and made him

a pariah. They encouraged the dissemination of these false claims. They exploited public

fear and directed vitriol and threats against Dr. Coomer. Oltmann has directly made

terroristic threats against Dr. Coomer, calling on people to harm Dr. Coomer and placing

Dr. Coomer in fear of imminent injury and death. Defendants have knowingly elevated

Oltmann’s statements and adopted his false allegations and threats. These actions have

had their intended effect. Dr. Coomer has had an onslaught of harassment and credible

death threats issued against him; he is at risk in his home or in going to work; his presence

puts his family, friends, colleagues, and his community in danger. All aspects of his life

have been altered in response to Defendants’ conduct, including things as basic as where

to live, how to go out in public, and when to see family and friends. The results of

Defendants’ ongoing conduct are foreseeable and obscene. This conduct is so outrageous




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in character and extreme in degree as to go beyond all possible bounds of decency.

It should be regarded as atrocious and determined intolerable in a civilized community.

       125.   As a direct and proximate result of Defendants’ conduct, Dr. Coomer has

suffered significant actual and special damages including, without limitation, emotional

distress, overwhelming stress and anxiety, lost earnings, and other pecuniary loss.

C.     Civil Conspiracy Against All Defendants

       126.   Plaintiff fully incorporates the prior paragraphs, as well as the Introduction

of this Complaint.

       127.   Defendants engaged in a conspiracy to defame and inflict emotional distress

upon Plaintiff.

       128.   Defendants’ collective objective was to promote the false claim that the

2020 presidential election was rigged for their own financial and political gain. To do

that, Defendants agreed, both expressly and implicitly, to create a demonstrably false

narrative that the election had been rigged and that President Trump lost his reelection

bid because of fraudulent election activities.

       129.   Defendants fed their narrative by falsely accusing Plaintiff of both having

the ability and intent to rig the presidential election and actually subverting the election

results so as to disenfranchise millions of voters. Defendants fabricated their false

narrative by using Plaintiff’s alleged (and false) affiliation with “Antifa,” speculation as to

his access to election hardware and software, and his personal political beliefs. In order

to further their objective, Defendants agreed, by their words and conduct, to publish and

republish defamatory statements about Plaintiff and threats towards Plaintiff.




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       130.    As a result of Defendants’ coordinated conduct, Plaintiff has become the

target of death threats and harassment and suffered significant actual and special

damages proximately caused by their conduct, including, without limitation, emotional

distress, overwhelming stress and anxiety, lost earnings, and other pecuniary loss.

D.     Permanent Injunction Against All Defendants

       131.    Plaintiff fully incorporates the foregoing paragraphs, as well as the

Introduction of this Complaint.

       132.    Plaintiff seeks permanent injunctive relief to remove all Defendants’

defamatory statements upon final adjudication of the claims at issue.

E.     Exemplary Damages Against All Defendants

       133.    Plaintiff fully incorporates the foregoing paragraphs, as well as the

Introduction of this Complaint.

       134.    Defendants’ conduct in this case, both before and after the filing of

Plaintiff’s original complaint, has been attended by circumstances of fraud, malice, and

willful and wanton conduct.

       135.    Defendants have never made any effort to familiarize themselves with the

facts of this case.

       136.    Defendants knew that their purposefully committed conduct was

dangerous, done heedlessly and recklessly, without regard to consequences, and without

regard to the rights and safety of Plaintiff.

       137.    Defendants did not ever and still do not have any evidence whatsoever to

suggest that Plaintiff has engaged in any “antifa conference call,” took any steps to




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manipulate the 2020 presidential election results, or engaged in any criminal conduct.

The absence of evidence for their claims does not matter to Defendants. They do not care

if what they publish is true or not.

       138.   After being sued, Defendants did not even read Plaintiff’s lawsuit until at

least several months later. During the interim, and even thereafter, they have persisted

in publishing defamatory statements that restate or otherwise reaffirm the false claims

that are unequivocally denied and conclusively debunked in Plaintiff’s Complaint.

       139.   Defendants’ willful and wanton conduct during the pendency of this lawsuit

has further aggravated the damages that Plaintiff has suffered, and Defendants knew or

should have known that their conduct would produce that aggravation.

       140.   Defendants knew that their conduct could get Plaintiff killed, but they did

not care.

       141.   Exemplary damages are appropriate and necessary under these

circumstances.

                            VI.    DEMAND FOR RETRACTION

       142.   Plaintiff demands Defendants immediately and publicly retract all

defamatory statements regarding Plaintiff and threats Defendants made to Plaintiff.

                                  VII.   RIGHT TO AMEND

       143.   Plaintiff reserves the right to amend his pleadings in accordance with the

Federal Rules of Civil Procedure. Plaintiff anticipates amending his pleadings as more

information becomes available, including the full scope of defamatory statements

Defendants have made.




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                                   VIII. JURY DEMAND

       144.    Pursuant to Federal Rule of Civil Procedure 38, Plaintiff requests a jury to

decide all issues of fact.

                                   PRAYER FOR RELIEF

       For these reasons, Plaintiff respectfully requests that Defendants be cited to appear

and answer, and that the Court enter judgment against Defendants, including, but not

limited to:

       •       Permanent injunctive relief requiring Defendants and their officers,
               agents, servants, employees, and attorneys to remove any and all
               defamatory publications made about Dr. Coomer;

       •       Actual and special damages against Defendants in an amount to be
               proven at trial;

       •       Exemplary damages pursuant to C.R.S. § 13-21-102 in an amount to                Deleted: Leave to amend this Complaint and
                                                                                               allege exemplary
               be proven at trial;
                                                                                               Deleted: after the exchange of initial disclosures
                                                                                               pursuant to Colorado Rules of Civil Procedure
       •       Attorney’s fees and costs;                                                      and Plaintiff establishes prima facie proof of
                                                                                               triable issues pursuant to C.R.S. § 13-21-102.
       •       Prejudgment and post-judgment interest; and

       •       Such other and further relief, both general and special, to which
               Plaintiff may be justly entitled to receive.




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    Respectfully submitted this 19th day of August 2024.               Deleted: 7th
                                                                       Deleted: November 2023
                                     Respectfully submitted,

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